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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                              Chapter 15

PERFORADORA ORO NEGRO, S. DE R.L.                   Case No. 18-11094 (SCC)
DE C.V., et al.                                     (Jointly Administered)

Debtors in a Foreign Proceeding.



GONZALO GIL-WHITE, PERSONALLY                       Adv. Pro. No. ___________
AND IN HIS CAPACITY AS FOREIGN
REPRESENTATIVE OF PERFORADORA
ORO NEGRO, S. DE R.L. DE C.V. AND
INTEGRADORA DE SERVICIOS
PETROLEROS ORO NEGRO, S.A.P.I. DE
C.V.

                     Plaintiff,

              -against-

ALP ERCIL; ALTERNA CAPITAL
PARTNERS, LLC;
AMA CAPITAL PARTNERS, LLC;
ANDRES CONSTANTIN ANTONIUS-
GONZÁLEZ; ASIA RESEARCH AND
CAPITAL MANAGEMENT LTD.; CQS
(UK) LLP; FINTECH ADVISORY, INC.;
DEUTSCHE BANK MÉXICO, S.A.,
INSTITUCIÓN DE BANCA MÚLTIPLE;
GARCÍA GONZÁLEZ Y BARRADAS
ABOGADOS, S.C.; GHL INVESTMENTS
(EUROPE) LTD.; JOHN FREDRIKSEN;
KRISTAN BODDEN; MARITIME
FINANCE COMPANY LTD.; NOEL BLAIR
HUNTER COCHRANE, JR; ORO NEGRO
PRIMUS PTE., LTD.; ORO NEGRO
LAURUS PTE., LTD.; ORO NEGRO
FORTIUS PTE., LTD.; ORO NEGRO
DECUS PTE., LTD.; ORO NEGRO
IMPETUS PTE., LTD.; PAUL MATISON
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LEAND, JR.; ROGER ALAN BARTLETT;
ROGER ARNOLD HANCOCK; SEADRILL
LIMITED; SHIP FINANCE
INTERNATIONAL LTD.; and DOES 1-100

                 Defendants.


                                 COMPLAINT
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       Gonzalo Gil-                                                        oreign representative of



Oro Negro                                                                      ,              ) (the
                              1
                                                          Complaint   against the following entities

and individuals (together,                     :

               The Ad-Hoc Group Defendants:                             ; Alterna Capital Partners,

                                                                                                ntin

               Antonius-

                                                                                             García

                                                                                        urope) Ltd.

               (

                             Paul Matison Leand, Jr. (          and Ship Finance International Ltd.

                         ;

               The Singapore Rig Owners: Oro Negro Primus Pte., Ltd.

               Oro N                                                                           Ltd.

                                                                                                and

               Oro Negro Impetus Pte., Ltd.

               The Singapore Directors:

               Hancock                             Noel Blair Hunter Cochrane, Jr.      Co



                                  ;



1
    See ECF 189.



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               The Seamex Defendants: Fintech Advisory, Inc.                       Advisory

               Seadrill Limited

               Deutsche Bank México, S.A., Institución de Banca Múltiple         Deutsche            ;

               and

               The Doe Defendants: Jane and John Does 1-100;

   and, on information and belief, alleges as follows:

                                       INTRODUCTION

       1.      This is an egregious tortious in

its only customer colluded to drive the company out of business and take over its only assets.

The victim is Oro Negro, a Mexican oil services company with five state-of-the-art jack-up rigs

used for offshore drilling in the Gulf of México         Rigs                           a group of

investors owning the majority of                                -            .

customer is Petróleos Mexicanos                                mpany and the largest company in

the country.

       2.      The Ad-Hoc Group and México, including through Pemex, destroyed Oro Negro

because the Ad-Hoc Group wanted to, and eventually did,

Rigs. The Rigs are valuable assets      according to the Ad-                own estimates, even

without the Oro Negro Contracts, each Rig is worth approximately $150 million.

       3.      Oro Negro was founded in 2012 by well-known entrepreneurs; it was, at the time,

the only Mexican oil services company to raise equity capital from large international investors,

including prominent United States investors. Further, in 2014, it raised $900 million in debt

from international investors                                                                   .




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       4.                        Rigs are among the best jack-up rigs in México, including

because they extract oil in deeper water; few other Mexican oil companies own comparable rigs.

Oro Negro leased the Rigs to Pemex                                    Oro Negro Contracts    Oro

Negro had the best performance, including safety record, of any company in the industry.

       5.     Pemex is owned and controlled by the Mexican government; indeed, it is part of

the government and by far                                        . Pemex had a monopoly over oil

production until 2015; since then, although others may participate in the market, Pemex

continues exercising monopoly-like power. As Pemex is a monopoly, Oro Negro could only

provide services to Pemex,                                 only client.

       6.     During prior administrations, Pemex demonstrated to be a highly corrupt



from 2012 to 2016, is currently at the center of one of the largest corruption scandals in the

world for allegedly receiving over $10 million in bribes from Odebrecht, S.A., a large Brazilian

construction company.

                                                    -to-                                     was

pervasive within México, including Pemex.

       7.     The Ad-Hoc Group is comprised of investment funds based in the United States,

Europe and Asia. The Ad-

Bonds are secured by the Rigs. The Ad-Hoc Group is led by Fredriksen, a Norwegian-born

billionaire and one of the most powerful businesspersons in the oil industry. The Ad-Hoc

                                   one of the most well-known offshore and maritime financial

advisors, owned by Leand, a powerful industry insider.




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       8.      Oro              primary competitor is Seamex Limited (

between                                                           Investments

company managed by Fintech Advisory and owned by David Martínez                      Martínez

controversial Mexican billionaire who appears to be under investigation by the United States

government for financing                   dictatorship.                          s best contracts

with Pemex, including in that they have superior prices, longer duration and do not contain

unilateral termination clauses, in contrast to the contracts of all of

including the Oro Negro Contracts.

       9.      Indeed, the core of this case involves the efforts by the Ad-Hoc Group, advised by

AMA, and Pemex, to purport to terminate the Oro Negro Contracts so that the Ad-Hoc Group

could take over the Rigs and hand them over to Seamex for Seamex to lease the Rigs to Pemex.

These efforts began with Pemex demanding to dramatically amend the Oro Negro Contracts,

including by reducing its payments to Oro Negro, and refusing to pay Oro Negro over $100

million in past due invoices. The efforts by Pemex and the Ad-Hoc Group culminated in Pemex

purporting to cancel the Oro Negro Contracts, which led to                   financial distress and

the Ad-Hoc Group successfully taking over the Rigs.           Oro Negro was forced to file for

reorganization in bankruptcy court in México and later commenced a Chapter 15 proceeding

before this Court.

       10.     Throughout 2017 and 2018, the Ad-Hoc Group and Pemex closely coordinated

and strategized      colluded   on how best to cancel the Oro Negro Contracts, what to do with the

Contracts after their termination and what to do with the Rigs. And throughout, Pemex and the

Ad-Hoc Group and its advisors and co-conspirators, including AMA, Seadrill and Fintech,

likewise coordinated to have the Oro Negro Contracts assumed by Seamex.



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        11.    To force Oro Negro to capitulate, in 2018, the Ad-Hoc Group and México,

initiated criminal cases seeking to                       ash and the Rigs and to imprison Oro

                                           fabricated evidence. And they resorted to movie-like

sensational efforts to seize the Rigs including by illegally hiring a squadron of helicopters under

the protection of the Mexican government to forcibly board and seize the Rigs. They did so

while flagrantly violating numerous orders of the Mexican bankruptcy court and this Court

prohibiting the cancellation of the Oro Negro Contracts and any efforts by the Ad-Hoc Group to

seize the Rigs and while the Ad-Hoc Group systematically misrepresented to this Court that it

did not want the Rigs. Seadrill and Fintech similarly misrepresented to the Court that they had

no interest in Oro Negro.

        12.    The Ad-                                       extract as much cash as it can from

Oro Negro via interest payments and eventually take over the Rigs. On information and belief,

none of the members of the Ad-Hoc Group purchased the majority of their Bonds at 100% of the

                                 hased them at prices ranging from 45% t

value   i.e., they have paid from $243 million to $351 million for their Bonds. As such, given

that the Rigs (even without the Oro Negro Contracts) are each worth at least approximately $150

million (for a total of approximately $750 million), the Ad-Hoc Group stood to substantially

profit simply by taking over the Rigs. Seadrill and Fintech similarly stood to gain in eliminating

                                                                              and the Oro Negro

Contracts.

        13.    Because Pemex would continue leasing the Rigs from the Ad-Hoc Group through

Seamex, this arrangement also benefited Pemex. More importantly, the Mexican government

gladly yielded to the Ad-                                      asons   an overt intention from the



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prior administration to retaliate against Oro Negro because Oro Negro persistently refused to pay

bribes to Mexican government officials, including Pemex officials.

against Oro Negro are the s                                    s United States shareholders against



       14.     Oro Negro now brings this case as the only avenue available to obtain redress

from the Defendants for colluding with the prior Mexican administration to illegally purport to

terminate its only contracts, the Oro Negro Contracts, and seize its only assets, the Rigs.

       15.     The factual background of this Complaint (paragraphs 16 to 447) is divided into

the following sections:

               Part I:                                         key contracts;

               Part II: events from March 2017 to September 11, 2017;

               Part III: events after September 11, 2017, which include the commencement of

                                                                                 ination of the Oro

               Negro Contracts and the Ad-

               Part IV: the proceedings outside of México including the New York Litigation,

               proceedings initiated in Singapore and Norway at the direction of the Ad-Hoc

               Group, the commencement                                     proceeding in New York

               and the Ad-

               Part V: the Mexican criminal proceedings initiated by the Ad-Hoc Group;

               Part VI:                                                                       business

               relationships and reorganization efforts; and

               Part VII: the damages caused to Oro Negro.




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                                            PARTIES

I.       Plaintiffs

         16.    Plaintiff Gil is the Foreign Representative of Integradora and Perforadora in the

Chapter 15 proceeding captioned: In re: Perforadora Oro Negro, S. de R.L. de C.V., et al., Case

No. 18-11094 (SCC) (Jointly Administered)              Chapter 15 Proceeding . Gil is the CEO of

Integradora and is authorized to represent Integradora and Perforadora inside and outside of

México including to initiate any legal proceedings.

         17.    Gil resides in Miami, Florida.

         18.                s and Perforadora

located at Javier Barros Sierra 540, Office 103, Park Plaza Torre 1, Santa Fe Colony, Álvaro

Obregón Delegation, México City, 01210.

II.      Defendants

         A.     The Ad-Hoc Group Defendants

         19.    The Ad-Hoc Group Defendants are (or were at the time of the events described in

this Complaint) the members of the Ad-Hoc Group, which are the managers of funds or

companies that hold the majority of the Bonds, and three of the Ad-                        advisors,

specifically, its financial advisor, its Mexican lobbyist and its Mexican criminal law firm.

                1.     Alterna

         20.    Defendant Alterna is a Delaware limited liability company.           Alterna is an

investment manager and financial advisor. Its principal place of business is in Connecticut. Its

address is 15 River Road, Suite 320, Wilton, Connecticut 06897.

         21.    Alterna manages, among other funds, Alterna Core Capital Assets Fund II, L.P., a

                                      Alterna Fund        As of December 2017, the Alterna Fund

owned at least $57,207,105 in Bonds.

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       22.                                                  Alterna has been a member of the Ad-

Hoc Group since at least May 2017.

       23.     The funds that Alterna manages, including the Alterna Fund, raise substantial

capital in the United States through private placements (i.e., investment offerings that do not

entail selling securities that are registered with the Securities and Exchange Commission, the

                                       States through private placements, an investment manager



SEC, providing general information about the fund, its investment manager and the amount that

the fund will raise. Alterna and its funds have filed numerous Forms D with the SEC since 2009,

reflecting private placements totaling approximately $1.4 billion.

               2.     AMA

       24.     Defendant AMA is a New York limited liability company that specializes in

investing in the shipping and offshore industries and in advising creditors of shipping and

offshore companies. Its principal place of business is in New York. Its address is 405 Lexington

Avenue, 67th Floor, New York, New York 10174.

       25.     AMA has been the financial advisor to the Bondholders since approximately 2015.

               3.     Leand

       26.

national and a New York resident. His address is 152 Stuyvesant Ave, Rye, New York 10580.

               4.     Antonius

       27.     Defendant Antonius is a Mexican national and resident. His address is Paseo de

la Reforma, 2654 Despacho 1402, México, D.F. 11950.

       28.     He is the CEO of Plan-B, a Mexican lobbying firm. Antonius is the Ad-Hoc



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                  5.    ARCM

           29.    Defendant ARCM is a Hong Kong-based investment manager and financial

advisor. Its principal place of business is 21/F, Shanghai Commercial Bank Tower, 12 Queens

Road Central, Hong Kong.

           30.    ARCM manages, among other funds, ARCM Master Fund II, Ltd., ARCM Master

Fund III, Ltd. and ARCM Distressed Energy Op                                              ARCM

Funds                                                                                       As of

December 2017, the ARCM Funds owned at least $115,448,060 in Bonds. Cayman Islands is a

secretive jurisdiction and, as a result, the names of the directors and officers of the ARCM Funds

are not public.

           31.                                                                                   -

Hoc Group since at least May 2017.

           32.    Funds managed by ARCM were, until December 2018, significant shareholders of

Seadrill, a company                                                        . Additionally, funds

ARCM manages invest permanently and significantly in New York. As an investment manager,

                                                                         C, disclosing the amount

of U.S. publicly traded stock that is held by the funds that ARCM manages. According to its

Form 13F for the last quarter of 2018, ARCM-managed funds hold approximately $234 million

in stock traded on the NYSE.

           33.    The funds that ARCM manages, including the ARCM Funds, raise substantial

capital in the United States through private placements.       ARCM and its funds have filed

numerous Form Ds with the SEC since 2012, reflecting private placements totaling over $1.6

billion.



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       34.    On April 19, 2019, ARCM, together with the other members of the Ad-Hoc

Group, made a submission to an arbitration tribunal established under NAFTA to resolve a claim

                                                                              NAFTA Claim

Through that submission, the Ad-Hoc Group seeks to keep any damages payment by México,

instead of that payment going to                                the submission, ARCM admitted

that it has a significant presence in the United States. Indeed, as an example of its presence in



              6.      Ercil

       35.    Defendant Ercil is a Turkish national and a resident of Hong Kong. His address is

21/F, Shanghai Commercial Bank Tower, 12 Queens Road Central, Hong Kong.

       36.    He is the CEO of ARCM, a member of the Ad-Hoc Group since at least May

2017. Through ARCM and the funds that ARCM manages, Ercil conducts permanent and

substantial business in New York.

              7.      CQS

       37.    Defendant CQS is a London-based investment manager and financial advisor. Its

principal place of business is 4th Floor, One Strand, London, WC2N 5HR, United Kingdom.

       38.    CQS has had a subsidiary in New York since 2008 and conducts permanent and

substantial business through that subsidiary. The United States is a key market for CQS. For

                                                                ncreasing our penetration in the

North American market, which accounts for 55 percent of global financial assets, is essential as

we broaden and deepen our investment capabilities to better

       39.    CQS manages, among other funds, City Natural Resources High Yield Trust, Plc,

CQS New City High Yield Fund Limited, BIWA Fund Limited, CQS Directional Opportunities



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Master Fund Limited and CQS Alguille du Chardonnet MF SICAV SIF                                 As

of December 2017, the CQS Funds owned at least $51,394,672 in Bonds.

       40.                                                                                  -Hoc

Group since at least May 2017.

       41.       Funds managed by or affiliated with CQS invest permanently and significantly in

New York. According to the Forms 13F of CQS and its affiliates for the last quarter of 2018,

CQS-managed funds and affiliated funds hold over $1 billion in stock traded on the NYSE.

       42.       The funds that CQS manages, including at least one of the CQS Funds, raise

substantial capital in the United States through private placements. CQS and its funds have filed

at least one Form D with the SEC (in 2017), reflecting a private placement of approximately

$600 million.

                 8.     GGB

       43.       Defendant GGB is a small Mexican law firm specializing in criminal litigation.

Its address is Prado Norte No. 135, 3° Piso, Lomas de Chapultepec I Sección, Miguel Hidalgo

México City, 11000.

       44.       GGB is the criminal law firm that represents the Ad-Hoc Group and the

Singapore Rig Owners in México.

                 9.     GHL

       45.       Defendant GHL is a company established and with its principal place of business

in Cyprus.      Its address is John Kennedy, Iris House, Floor 7, Flat 740B, 3106, Limassol,

Leymosun, Cyprus.

       46.       GHL is ultimately owned and controlled by Fredriksen.       GHL is a personal

investment vehicle of Fredriksen to own and control his businesses and investments.



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         47.   Fredriksen ultimately owns or controls GHL through a web of trusts that he

                                                             Greenwich Holdings

established and with its principal place of business in Cyprus. Greenwich Holdings indirectly

owns and controls GHL.

         48.   As of December 2017, GHL owned at least $126,087,850 in Bonds. GHL has

been a member of the Ad-Hoc Group since as at least May 2017.

         49.                                                                          Seatankers

Management                                       its principal place of business in Cyprus that is

ultimately owned and controlled by Fredriksen.

               10.      MFC

         50.   Defendant MFC is a Bermuda company.            It is an investment management



principal place of business was Miami, Florida. Its address was 601 Brickell Key Drive, Suite

510, Miami, Florida 33131.

         51.   MFC is owned and controlled by United States-based individuals. Bodden is

                     Vadim Vladimirovich Reingevurts

                                                                                     Partner and

Managing Director until December 2018, also resides in the United States.

         52.   MFC conducts permanent and substantial business in New York because its

primary business is to invest funds provided from New York by New York-based investment

firms.    Specifically, MFC manages the investments of Maritime Finance Holdings I Ltd.



York-                                                                                -York-based

investment firm;                                              -
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Board of Directors is comprised of two KKR executives, one Omega executive and one Wafra

executive.

Strea

From March 2017 to March 2019, Gulf Stream AM was an SEC registered financial advisor. Its

registered address was the same Miami address that MFC had until May 2018.

        53.   As of December 2017, MFCH owned at least $56,254,499 in Bonds.

        54.   As the investment manager of MFCH, MFC was a member of the Ad-Hoc Group

since at least May 2017. As discussed below (infra ¶ 166), MFC purportedly ceased being a

member of the Ad-Hoc Group in December 2018.

              11.     Bodden

        55.   Defendant Bodden is a resident of Miami, Florida. His address is 1543 SE 12th

Ct., Deerfield Beach, Florida 33441.

        56.   He is the CEO of MFC and the manager of MFCH. M

investments. As manage                               MFC has been a member of the Ad-Hoc

Group since at least May 2017.         As the manager of MFC and MFCH, Bodden conducts

permanent and substantial business in New York.

              12.     SFIL

        57.   Defendant SFIL is a company established and with its principal place of business

in Bermuda.     Its address is Par-la-Ville Place, 14 Par-la-Ville Road, Hamilton HM 08,

Bermuda.

        58.

                                                                                  its principal

place of business in Cyprus. Hemen owns approximately 26% of SFIL. Fredriksen ultimately



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owns or controls Hemen through a web of trusts that he controls. Those trusts own Greenwich

Holdings and Greenwich Holdings indirectly owns and controls Hemen.

       59.     There is no doubt that SFIL is controlled by Fredriksen. For example, when

                                                          Ole Hjertaker] is the CEO of SFL and is

running this position for Fredriksen who is by far the largest bondholder.

       60.     SFIL conducts permanent and substantial business in New York and has strong

connections to New York. Specifically, SFIL trades on the NYSE. In addition, Leand, who is

based in New York, was a member of the Board of Directors of SFIL from 2003 to August 2018.

F

filings with the SEC, is based in New York. SFIL has other strong United States connections.

For example, one of the members of its Board of Directors is based in Connecticut.

       61.     As of December 2017, SFIL owned at least $16,778,152 in Bonds. SFIL has been

a member of the Ad-Hoc Group since at least May 2017.

       62.     On April 19, 2019, SFIL, together with the other members of the Ad-Hoc Group,

made a submission to the arbitrational tribunal overseeing the NAFTA Claim. Through that

submission, the Ad-Hoc Group seeks to keep any damages payment by México, instead of that

                                                      the submission, SFIL admitted that it has a

significant presence in the United States. Indeed, as an example of its presence in the United



               13.    Fredriksen

       63.     Defendant Fredriksen is a billionaire shipping tycoon. He is Norwegian by birth

but in 2006, to avoid paying Norwegian taxes, he relinquished his Norwegian nationality and

became a national of Cyprus. He resides in London and his address is 15 Sloane Square, London

SW1W 8ER, United Kingdom.
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       64.     Fredriksen began making his fortune in the 1980s during the bloody Iran-Iraq war.

He was responsible for shipping oil out of Iran, thereby ensuring Iran a steady flow of revenue

form oil exports during the war.

Since then, he has amassed a la

vessels, tankers and offshore drilling rigs.

       65.     Fredriksen permanently and significantly invests or conducts business in New

York. For example, he (a) ultimately owns and controls approximately 20% of Quintana Energy

Services, Inc., a Houston-based and NYSE-traded oil and gas company; (b) ultimately owns and



the NYSE; (c) ultimately owns and controls approximately 30% of Seadrill, which trades on the

NYSE; (d) ultimately owns and controls approximately 22.5% of SFIL, which trades on the

NYSE; (e) ultimately owns and controls approximately 35% of Golden Ocean Group Limited

                                     pany that trades on the NASDAQ; and (f) through Seadrill,

co-owns Seamex 50/50 with Fintech Investments, which is managed by New York-based Fintech

Advisory.                                                                             -based law

firm, advised Seadrill and Fintech Investments in connection with negotiating and establishing

Seamex.

       66.     Fredriksen closely and directly supervises his businesses, including Seadrill. For

example,                                                                                   iscuss

                                                                      These are secret meetings

                                                                                                no

one takes notes of those meetings.




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        67.      On information and belief, Fredriksen knew of or directed Seadrill, SFIL and

GHL to carry out the actions alleged in this Complaint.

        B.       The Seamex Defendants

        68.      The Seamex Defendants are the two entities that own and control Seamex, which

                                                     o and leases five Rigs to Pemex.

                 1.       Fintech Advisory

        69.      Defendant Fintech Advisory is a Delaware corporation. Fintech Advisory is an

investment manager. Its principal place of business is in New York. Its address is 375 Park

Avenue, Suite 3804, New York, New York 10152. Fintech Advisory is owned and controlled by

David Manuel Martínez-Guzmán                           .

        70.      Fintech Advisory is the investment manager of Fintech Investments, a British

Virgin Islands shell company owned and controlled by Martínez. Fintech Adviso

of revenue is management fees paid by Fintech Investments. Fintech Investments co-owns

Seamex with Seadrill.2

        71.      As of October 2017, Fintech Advisory was one of the Bondholders.

                 2.       Seadrill

        72.      Defendant Seadrill is a company established and with its principal place of

business in Bermuda. Its address is Par-la-Ville Place, 14 Par-la-Ville Road, Hamilton HM 08,

Bermuda                                                                            Seadrill Management Ltd.



2
    During this Chapter 15 Proceeding, Seadrill and Fintech Advisory misled the Foreign Representative and the
Court by misrepresenting and concealing that the owner of Seamex was Fintech Investments, not Fintech Advisory.
This prevented the Foreign Representative from seeking discovery into Fintech Investments, including to investigate
whether any member of the Ad-Hoc Group has an interest in Fintech Investments or whether Fintech Investments
has made any payments, directly or indirectly, to members of the Ad-Hoc Group or other relevant parties such as

in mid-April 2019.



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 Seadrill Management                            ry located at 2nd Floor, Building 11 Chiswick

Business Park, 566 Chiswick High Road, London W4 5YS, United Kingdom.

       73.

shareholder is Hemen. Hemen owns approximately 30% of Seadrill. Fredriksen ultimately owns

or controls Hemen through a web of trusts that he controls. Those trusts own Greenwich

Holdings and Greenwich Holdings indirectly owns and controls Hemen. Fredriksen

Chairman of the Board of Directors.

       74.     Seadrill conducts permanent and substantial business in New York and has strong

connections to New York. Specifically, Seadrill trades on the NYSE. In addition, two of the

current members of its Board of Directors are New York-based. Leand, who is also based in

New York, was a member of the Board of Directors of Seadrill from 2013 to July 2018. Further,

Seadrill conducts business in the United States through Seadrill Amer

United States-based subsidiaries, and through Sevan Drilling, Ltd., a Seadrill subsidiary that

conducts significant business in the United States.

       75.     In September 2017, Seadrill commenced a Chapter 11 proceeding in the U.S.

                                                                  Seadrill Restructuring

successfully emerged from bankruptcy in July 2018.

       C.      The Singapore Defendants

       76.     The Singapore Defendants consist of the five Singapore Rig Owners and the

individuals who sit on their Boards of Directors.

               1.     The Five Singapore Rig Owners

       77.     Defendants the Singapore Rig Owners are Oro Negro Primus, Oro Negro Laurus,

Oro Negro Fortius, Oro Negro Decus and Oro Negro Impetus.



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       78.     The Singapore Rig Owners are companies established and with their principal

place of business in Singapore. They all share the same address and are located at: 137 Telok

Ayer St. #08-01, Singapore 08602.

       79.     Each Singapore Rig Owner is a party to a lease agreement with Perforadora,

pursuant to which they lease the Rigs to Perforadora                                               The

Bareboat Charters are governed by United States Maritime law and are subject to the jurisdiction

of New York courts.

       80.     The Singapore Rig Owners were the plaintiffs in the lawsuit against Perforadora

filed in the United States District Court for the Southern District of New Yor              New York

Litigation .3 All the Singapore Rig Owners have also appeared in the Chapter 15 Proceeding.

       81.     The Ad-Hoc Group has been unlawfully purporting to control the Singapore Rig

Owners since September 2017 and, as such, all of the Singapore Rig O

September 2017 have been at the Ad-

contest the Ad-

               2.      The Singapore Directors

               Cochrane

       82.     Defendant Cochrane is one of the three directors of the Singapore Rig Owners. In

November 2016, he was appointed to the boards of the Singapore Rig Owners by the

Bondholders and has been subject to their control since then.

       83.     Cochrane is a United States citizen and a Florida resident. His address is 2727

North Ocean Blvd. No 6, Delray Beach, Florida 33483.



3
    See Oro Negro Decus, Pte. Ltd., et al. v. Perforadora Oro Negro, S. de R.L. de C.V., No. 18-cv-02301
(S.D.N.Y.) (filed March 15, 2018).



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              Bartlett

       84.    Defendant Bartlett is one of the three directors of the Singapore Rig Owners. In

September 2017, he was appointed to the boards of the Singapore Rig Owners by the

Bondholders, acting under the Ad-                       l, and has been subject to the Ad-Hoc

        control since then.

       85.    Bartlett is a resident of Singapore. His address is 7 Temasek Boulevard #07-08,

Suntec Tower One, Singapore 038987.

              Hancock

       86.    Defendant Hancock is one of the three directors of the Singapore Rig Owners. In

September 2017, he was appointed to the boards of the Singapore Rig Owners by the

Bondholders, acting under the Ad-                                                         -Hoc



       87.    Hancock is a resident of Singapore. His address is 7 Temasek Boulevard #07-08,

Suntec Tower One, Singapore 038987.

       D.     Deutsche México

       88.    Defendant Deutsche México is a bank established and with its principal place of

business in México. Its address is Av. Pedregal 24-20, Col. Molino del Rey, 11040, Ciudad de

México, México.

                               JURISDICTION AND VENUE

       89.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 157 and 1334.

       90.    Recognition of foreign proceedings, enforcement of orders of this Court, and

other matters under Chapter 15 of the Bankruptcy Code are expressly designated as core

proceedings pursuant to 28 U.S.C. §§ 157(b)(2)(A), (O), and (P).

       91.    Venue is proper in this Court pursuant to 28 U.S.C. § 1410.

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       92.     This Court has personal jurisdiction over AMA, Leand and Fintech Advisory

pursuant to 18 U.S.C. § 1965 because they are New York residents.

       93.     The Court has personal jurisdiction over the Singapore Rig Owners pursuant to

Section 19.1 of each of the Bareboat Charters, by which the Singapore Rig Owners expressly and

irrevocably agreed to submit to the jurisdiction of this Court. The Singapore Rig Owners have

already availed themselves of the jurisdiction of the federal courts of this District under the

Bareboat Charters when they sued Perforadora in the New York Litigation. In addition, all the

Singapore Rig Owners have appeared in the Chapter 15 Proceeding.

       94.     This Court has personal jurisdiction over each Defendant because: each

Defendant is found or resides in this District, has or had agents in this District, transacted

business throughout the United States, including in this District; availed itself of courts in this

District in the context of the events giving rise to the claims herein; violated a right in the United

States; and a substantial part of the events giving rise to the claims herein arose in this District.




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                                            FACTS

               PART I: CORPORATE STRUCTURE AND KEY CONTRACTS

I.       Overview

         95.    Oro Negro is a Mexican business that owns and leases five Rigs. Distilled to its

                                                     he following:

                (a)                                    Oro Negro Drilling

                       subsidiary of Integradora that issued the Bonds, and is the parent of the

                       Singapore Rig Owners that own the Rigs;

                (b)    the Bareboat Charters between the Singapore Rig Owners and

                       Perforadora;

                (c)    the Oro Negro Contracts between Pemex and Perforadora; and

                (d)    a Mexican trust (in Spanish, fideicomiso) into which Pemex pays the

                       revenue under the Oro Negro Contracts.

II.      Oro Negro s Corporate Structure

         A.     Integradora

         96.    The ultimate parent company of Oro Negro is Integradora, a Mexican holding

company that owns Oro Negro Drilling, the Singapore Rig Owners and Perforadora.

         97.    Integradora is owned by a combination of two Mexican pension funds (known in

México as afores) and investors based in the United States, México and Europe. Currently, the

two Mexican pension funds own approximately 47%; a group of United States-based individual

and institutional investors owns approximately 43%; and a group of Mexican individuals and

European individual and institutional investors owns approximately 10%.

         98.    Bet                                                  made approximately $590

million in equity investments.

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        B.       The Rigs, Oro Negro Drilling and the Singapore Rig Owners

        99.      Integradora acquired the five Rigs between 2012 and 2015. The Rigs are named

Decus, Fortius, Impetus, Laurus and Primus. The Rigs are superior to rigs of competitors in

México because they are more stable, can house larger crews, have larger and more efficient

drills and have longer legs (thus permitting deeper water drilling).

        100.     Integradora owns the five Rigs through five Singaporean corporate entities.

Specifically, Integradora owns 100% of the equity of Oro Negro Drilling, which in turn owns

100% of the equity in each Singapore Rig Owner. Each Singapore Rig Owner owns one Rig.

        101.     Even though each Singapore Rig Owner owns a Rig, no Singapore Rig Owner

operates or has the capacity to operate a Rig.

        102.     Each Rig, without an associated contract, is worth approximately $150 million. 4

With an associated contract, each Rig can be worth hundreds of millions of dollars.

        C.       Perforadora

        103.     Perforadora is the Integradora subsidiary responsible for operating the Rigs.

Perforadora leases the Rigs from the Singapore Rig Owners through the Bareboat Charters. As

discussed in detail below (infra ¶¶ 140 143), Perforadora, in turn, leases the Rigs to Pemex.

        104.     Perforadora has always had only one customer: Pemex. It has never invoiced any

other entity for services provided.




4
    This value is based on the Ad-
                                                                                                      October 2017.
These three rigs had been built for Integradora and Integradora had paid $120 million to the Singaporean shipyard as
a down payment. As a result of the facts described in this Complaint, Integradora was unable to complete payment
for those rigs, and the shipyard sold them to Borr.



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         D.      Employees

         105.    By September 2017, when Perforadora filed for bankruptcy protection in México,

Integradora and its subsidiaries employed approximately 400 employees, including

approximately 40 United States nationals. Since March 2018, as a result of the Ad-

efforts to interfere with Oro Negro                and illegally seize the Rigs, Integradora and its

subsidiaries have been forced to terminate approximately 380 employees, almost their entire

workforce. Currently, Integradora and its subsidiaries employ approximately 20 employees.

III.     The Bonds

         A.      Overview

         106.    In 2014, to finance the acquisition of the Rigs, Integradora raised capital from its

shareholders and through its subsidiaries issued bonds.

         107.    Specifically, two Integradora subsidiaries, Oro Negro Drilling and Oro Negro

Impetus issued two series of bonds with an aggregate face value of $900 million. All bonds were

later consolidated into a single bond debt with Oro Negro Drilling as the issuer (as defined above,

       Bonds

         108.    The Bonds have a 7.5% annual interest rate and matured in January 2019. The

Bonds were not repaid in January 2019 due to                         unlawful conduct, which this

Complaint describes in detail.

         109.    The Bonds are governed by a bond agreement between Oro Negro Drilling and

Nordic Trustee            Nordic Trustee                                      firm (as amended and

                Bond Agreement . Nordic Trustee is the trustee under the Bond Agreement and is

responsible for acting on behalf of the Bondholders to collect on the Bonds.              The Bond

Agreement is governed by Norwegian law.



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         110.   Oro Negro Drilling is the only issuer of the Bonds. Integradora provided a

limited guarantee under which Integradora guarantees up to $175 million of the Bonds (the

 Guarantee ). The Guarantee is governed by English law.

         111.   Neither Perforadora nor any Singapore Rig Owner is an issuer or guarantor of the

Bonds.

         112.   Under the Bond Agreement, neither Nordic Trustee nor any Bondholder has any

                                                                                         Oro Negro

Contracts                               s use of the Rigs.

         B.     Security Rights

         113.   The Bonds are primarily secured by:

                (a)    a share charge (equivalent to a pledge of stock) granted by Integradora to



                                                             to Nordic Trustee to replace, if certain

                       conditions are met,                                              Oro Negro

                       Drilling Share Charge

                (b)    share charges granted by Oro Negro Drilling to Nordic Trustee over Oro

                                                                              , which includes Oro

                                                                                         , if certain

                       conditions are met,



                (c)    mortgages on the Rigs.

         114.   The Oro Negro Drilling Share Charge and the Singapore Rig Owner Share

Charges are governed by Singaporean law.

         115.   The mortgages are governed by Panamanian law.
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       C.                               Events of Default

       116.     Under the Bond Agreement, events of default include, inter alia, (a) Oro Negro

Drilling                                                                  ; and (b) Integradora or

any of its subsidiaries, including Perforadora, initiating restructuring, insolvency or bankruptcy

proceedings. In such circumstances, Nordic Trustee may declare an event of default, exercise

                                  and demand immediate payment of the entire principal and

accrued interest.

       117.     Even though the Bond Agreement states that it is governed by Norwegian law,

                                          nt of default under the Bond Agreement is subject to

Mexican law. As further discussed below (infra ¶ 208 209), Mexican courts have ruled that



exercising those rights impacts Integradora and Perforadora.        Mexican law provides that

                                                                                     declaring an

event of default, due to the commencement of insolvency proceedings is unenforceable as a

violation of Mexican public policy

reorganize.

       D.       The Ad-

       118.                                                                         , i.e., it does

not act independently, and acts solely at the direction

instructions.   The Bondholders make decisions by voting in meetings or issuing written

resolutions. In either case, decisions are binding on all Bondholders upon the approval of 50%




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or more of the Bondholders.5 As such, the Ad-Hoc Group, which purports to own over 50% of

the Bonds, has controlled every single action and decision of the Bondholders since at least May

2017.

        119.    The Bond Agreement allows Nordic Trustee to request indemnification from the

Bondholders prior to implementing their decisions. As described below (infra ¶¶ 245, 267-268)

the Ad-Hoc Group caused the Bondholders to provide broad indemnities to Nordic Trustee for

every single action that Nordic Trustee has carried out in connection with the Bonds since

September 2017. In the words of Bodden                        , in a September 25, 2017 email to Leand,

                       reluctant to shake it off at the urinal without indemnification for any

splashing

        E.      Bond Amendments

        120.    In 2015 and 2016, as a result of amendments of the Oro Negro Contracts in those

years (described infra ¶¶ 145 147), Oro Negro Drilling and Nordic Trustee amended the Bond

Agreement twice (the Bond Agreement Amendments .

        121.    In connection with the Bond Agreement Amendments, the Bondholders

conducted detailed and lengthy audits of Integradora and its subsidiaries finances and operations.

The B

operations and made minor recommendations, which Integradora and its subsidiaries accepted

and implemented.




5
    The Bondholders need approval of 66.6% of the Bondholders only when they have to decide on amendments of
the Bond Agreement or waivers of any rights under the Bond Agreement.



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         122.                                      , a consultant specializing in rig operations, acted

                                  on the Rigs, including their status and operations, in connection

with the Bond Agreement Amendments.

         123.    As further described below (infra ¶ 176), in March 2017, following the Bond

Agreement Amendments, to ensure a smooth and collaborative relationship with the

Bondholders, Integradora and its subsidiaries appointed Aagaard as Chief Operating Officer

          . Unbeknownst to Integradora and its subsidiaries, Aagaard was a mole for Fredriksen,

AMA and Leand, whose objective was to report to them on the status of Integradora and its

subsidiaries and ensure that Fredriksen                     the Bondholders                      could

easily take over the Rigs when the time was right.

IV.      The Bareboat Charters

         A.      Overview

         124.    Each Singapore Rig Owner entered into a bareboat charter with Perforadora

(                                    Bareboat                  A bareboat charter is an instrument

commonly used in the maritime industry to lease a vessel without a crew or equipment.

         125.    The five Bareboat Charters are governed by United States maritime law and are

subject to the jurisdiction of New York courts.

         B.      Charter Period

         126.    A key aspect o                                                   which is defined to

be from the commencement of the [Pemex Contract]                                              [Pemex

Contract]       Because, as further described below (infra ¶¶ 214 204), Pemex never validly

terminated any of the Oro Negro Contracts and has not allowed Perforadora to perform, all the

Bareboat Charters remain in effect and are enforceable.



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       127.    During the Charter Period, pursuant to the terms of the Bareboat Charters,

Perforadora has sole and exclusive possession of the Rigs and the Singapore Rig Owners do not

have any right to disturb that possession.

       C.      Charter Hire

       128.    Perforadora is only obligated t

which are the net funds Pemex pays to Perforadora under the Oro Negro Contracts, after

accounting for operational and administrative expenses.         The Bareboat Charters expressly

provided that Charter Hire is not due unless and until Pemex pays Perforadora while the Rigs are

in service. If the Rigs are not in service, or Pemex fails to pay, no Charter Hire is owed during

that period.

       129.    Further, under the terms of the Bareboat Charters, Charter Hire does not include

any amounts that Pemex must pay to Perforadora as liquidated damages under the Oro Negro

Contracts (e.g., anticipated rent payments in the event of unilateral termination).

       D.

       130.    Under the Bareboat Charters, the Singapore Rig Owners are responsible for

certain expenses associated with the Rigs (some of those expenses are explained below) and

must reimburse Perforadora if Perforadora pays such expenses       Reimbursement Costs ).

       131.    Before the illegal seizure of control over the Singapore Rig Owners (described

infra ¶¶ 252 256), Perforadora paid expenses but the Singapore Rig Owners did not reimburse



does not change the legal obligation of each Singapore Rig Owner to pay the Reimbursement

Costs. Now under the unlawful control of the Ad-Hoc Group, the Singapore Rig Owners refuse

to pay the Reimbursement Costs to Perforadora.



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                1.     Expenses to Maintain the Rigs      Class

       132.     Under Mexican law, the Rigs

(b) maintain their insurance coverage; and (c) remain in Mexican waters. Therefore, it is critical

that the Rigs

       133.                                                    ABS                          -based

organization that determines whether vessels such as the Rigs                       To determine



                                                                  Five-Year Class Certification

Additionally, the ABS conducts narrower inspections annually to confirm that the vessel should

                        Annual Certifications

       134.     Pursuant to the Bareboat Charters, the Singapore Rig Owners must pay for all

expenses necessary for the Rigs

Five-Year Class Certification and the Annual Certifications.         Article 7.1 of each Bareboat

Charter states that [a]nnual survey, special survey, major maintenance and major overhaul of

the Vessel shall be performed every five years (or any other time as required by the classification



       135.     In 2017 and 2018, Perforadora incurred $274,925.29 in expenses to obtain Five

Year Certifications and Annual Certifications for the five Rigs. These are expenses that the five

Singapore Rig Owners must reimburse to Perforadora.

                2.     Costs to Maintain the Impetus Prior to the Charter Period

       136.     Prior to the start of the Charter Period, Perforadora has no obligation to pay for

the maintenance of the Rigs or any costs associated with the Rigs.

       137.     In the case of the Impetus Bareboat Charter, the Charter Period began on May 29,

2016, which is when Perforadora started providing services to Pemex using the Impetus. Thus,

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Oro Negro Impetus is responsible for all costs associated with the Impetus, including

maintenance costs, prior to May 29, 2016, i.e., the Impetus                                       .

        138.   Perforadora incurred numerous expenses prior to the commencement of the

Charter Period for the Impetus Rig. Perforadora incurred $7,520,279.88 in expenses for the

Impetus prior to May 29, 2016, including (a) salaries; (b) maintenance; (c) fuel; and

(d) personnel training. These are funds that Oro Negro Impetus must reimburse to Perforadora.

        139.   As of today, the Singapore Rig Owners owe Perforadora a total of $7,795,205.17

in Reimbursement Costs.

V.      The Oro Negro Contracts

        A.     Overview

        140.   From April 2013 to January 2014, Perforadora entered into contracts with Pemex

Exploración y Producción      PEP                                                    Primus, Laurus,

Fortius and Decus. After a Pemex restructuring in mid-2015, PEP assigned these contracts to

Pemex Perforación y Servicios

Perforadora entered into a fifth contract with PPS to lease the Impetus.

        141.   Pemex is the Mexica                     oil and gas company. Pemex is effectively

the only client for high-cost oil and gas services such as offshore drilling because it is the largest

company in México and, until around 2015, had a complete monopoly over all oil and gas

exploration and production in México, including in Mexican waters in the Gulf of Mexico.

        B.     Original Terms

        142.   The original terms of the Oro Negro Contracts were as follows:

               (a)     Primus:    On April 23, 2013, PEP and Perforadora entered into lease

                       no. 421003823 pursuant to which PEP would lease Primus for 1,030 days



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                      (approximately two years and nine months) at a daily rate of

                      approximately $160,000         Primus Contract ;

              (b)     Laurus:   On April 23, 2013, PEP and Perforadora entered into lease

                      no. 421003824 pursuant to which PEP would lease Laurus for 1,233 days

                      (approximately three years and four months) at a daily rate of

                      approximately $160,000         Laurus Contract

              (c)     Fortius: On January 13, 2014, PEP and Perforadora entered into lease

                      no. 421004800 pursuant to which PEP would lease Fortius for 1,442 days

                      (approximately four years) at a daily rate of approximately $160,000 (the

                       Fortius Contract ;

              (d)     Decus: On January 27, 2014, PEP and Perforadora entered into lease

                      no. 421004806 pursuant to which PEP would lease Decus for 1,342 days

                      (approximately three years and seven months) at a daily rate of

                      approximately $160,000         Decus Contract ; and

              (e)     Impetus: On December 18, 2015, PPS and Perforadora entered into lease

                      no. 641005817 pursuant to which PPS would lease Impetus for 1,819 days

                      (approximately five years) at a daily rate of approximately $130,000 (the

                       Impetus Contract

       143.   Under the original terms of the Oro Negro Contracts, Perforadora              annual

revenues from leasing the Rigs were approximately $280 million. Pemex would have had to pay

Perforadora approximately $1.05 billion during the life of the Oro Negro Contracts.

       C.     Termination

       144.   The Oro Negro Contracts may terminate early only if Pemex validly terminates

them, or Perforadora and Pemex jointly agree to terminate them. Pemex may validly terminate
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the Oro Negro Contracts only if Perforadora breaches them, for force majeure, or for duly

justified reasons                razones debidamente justificadas ).

       D.        Amendments

       145.      In 2015 and 2016, citing supposed budget cuts caused by the decline of the price

                                                                        Oro Negro Contracts by

suspending (until mid-2017) two of them and reducing the daily rates on the other three contracts

by approximately 27%          2015 and 2016 Amendments

       146.      As a result of the 2015 and 2016 Amendments, Perforadora           revenue was

reduced by more than 50%.          Pemex induced Perforadora to accept the 2015 and 2016

Amendments by falsely promising that the Oro Negro Contracts would return to their original

terms in 2017.

       147.      The 2015 and 2016 Amendments did not result in Oro Negro             because, as

set forth above (supra ¶¶ 120 123), the Bonds were themselves amended in 2015 and 2016.

Indeed, the 2015 and 2016 Amendments with Pemex were done in conjunction with the Bond

Agreement Amendments in the same years, providing debt relief for Oro Negro to survive the

daily rate reductions and suspensions of the 2015 and 2016 Amendments.

       E.        Performance and Payment

       148.      Under the Oro Negro Contracts, Pemex pays Perforadora the daily rate depending

on the amount of time the Rig is available and ready for Pemex to use (i.e., not in repair or

malfunctioning), regardless of whether Pemex actually uses it. This means that if the Rig is

available and ready for use for 24 hours, Pemex pays 100% of the daily rate; if the Rig is

available and ready for use for only 12 hours, Pemex pays 50% of the daily rate.

       149.      From the inception of the Oro Negro Contracts until Pemex purported to

terminate the Oro Negro Contracts in October 2017 (described infra ¶ 214), Pemex paid (or

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authorized payment but has not yet paid), on average, 99.5% of the daily rate under each Pemex

Contract, meaning that the Rigs were available and ready for use, on average, 99.5% of the time.

                                   Oro Negro Contracts has been almost perfect.

       F.        Seamex

       150.      From around 2011 to 2015, Pemex entered into approximately 26 rig leases with

approximately eight companies, including Perforadora.

lease agreements, the original terms of all the rig lease agreements were similar.

       151.                                                    ex, which also owns five rigs.

                                                                                       wer quality

shipyards. Seamex leases its five r                             -

Seamex entered into the Pemex-Seamex Contracts in 2014. Seamex is co-owned by Seadrill and

Fintech Investments. Perforadora and Seamex are the companies that lease the largest number of

rigs to Pemex.

       152.      The Pemex-Seamex Contracts contain significantly more favorable terms for

Seamex                                                      (a) higher daily rates; (b) significant

limitations on the ability of Pemex to terminate; (c) longer terms; and (d) virtually no penalties

for deficient operation and maintenance of the rigs.

       153.      Indeed, the Pemex-Seamex Contracts are so noticeably favorable that Seadrill

                                                                           -Seamex Contracts] are

absolutely secure     In the words of a senior Seadrill executive, the Seamex Contracts are subject

                                              om the standard of other rig leases.

       154.      In their depositions in this Chapter 15 Proceeding Leand, the CEO and Managing

Director of AMA, Seadrill and Fintech Advisory stated that they were unaware of any other rig

lease that contained the same terms as the Pemex-Seamex Contracts        none of them were able to
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muster a reasonable explanation for how Seamex had extracted these contracts from Pemex.

Leand was a member of the Board of Directors of Seadrill when Seamex obtained the Pemex-

Seamex Contracts.

       155.    Even though the terms of the Pemex-Seamex Contracts are significantly more

expensive for Pemex than the Oro Negro Contracts, Pemex targeted only Perforadora in 2017

with draconian amendments and actually withheld payments; Pemex did not treat Seamex

similarly.

       G.               Pattern of Corruption

       156.    Pemex is often involved in high-profile corruption scandals. For example, it is

currently at the center of the Odebrecht bribery case.       From 2014 to date, Brazilian law

enforcement agencies have uncovered one of the largest corruption schemes in history (known

               Lava Jato     The Lava Jato corruption scheme involved payments of hundreds of

millions of dollars in bribes, by numerous Brazilian and foreign companies, to government

officials in over a dozen countries, including México, in exchange for valuable contracts. At the

heart of Lava Jato is Odebrecht, the largest construction company in Brazil.

       157.                                          includes that it paid at least $10.5 million in

bribes to Lozoya, Peme                                                   Lozoya was the CEO of

Pemex during the time period in which Pemex entered into the Oro Negro Contracts and the

Pemex-Seamex Contracts. Oro Negro did not pay any bribes to Lozoya and, as opposed to



       H.

       158.    From 2012 to 2017, agents of the Mexican government solicited bribes from Oro

Negro and its principals, which they refused to pay. México retaliated against Oro Negro by

imposing the drastic 2015 and 2016 Amendments and ultimately purporting to cancel the Oro

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Negro Contracts with the aim of having the Ad-Hoc Group, Seadrill and Fintech take possession

of the Rigs and then leasing the Rigs from them.

         159.              s United States shareholders have, among other evidence, recorded

statements by current and former senior Pemex officials confirming that Pemex singled out and

discriminated against Oro Negro because it never paid bribes to Pemex. The recordings indicate

that officials at the highest levels of the Mexican political establishment, including a former

Minister of Energy and Lozoya often requested bribes and retaliated against those who refused to

pay them.                                                                      -to-      system in

                                                                    .            acts of retaliation

against Oro Negro are the subject of the NAFTA Claim, which is described above (supra ¶ 13).

VI.      The Mexican Trust

         160.   The Bond Agreement provided for the establishment of a Mexican trust (in

Spanish, fideicomiso) that receives the payments by Pemex to Perforadora for leasing the Rigs

(       Mexican Trust                                                                          first

distribute to Perforadora the funds it needs to pay ordinary business expenses, including

operating the Rigs, taxes and salaries.

payments from the Mexican Trust. To block payments from the Mexican Trust to Perforadora is

to deprive Perforadora of cash and ensure its demise.

         161.                                        (i.e., the entity responsible for managing the

trust funds, including paying the beneficiaries) is Defendant Deutsche México, the Mexican




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           PART II: EVENTS FROM MARCH 2017 TO SEPTEMBER 11, 2017

I.      2017 Proposed Pemex Amendments

        162.   In March 2017, Pemex broke its promise, indicating to Perforadora that the Oro

Negro Contracts would not revert to their original terms, and demanding that (a) the two

contracts for the Primus and Laurus remain suspended; and (b) Perforadora accept permanent

daily rate reductions of approximately 27                                          2017 Proposed

Pemex Amendments

        163.   The 2017 Proposed Pemex Amendments

its ability to repay the $900 million bond debt.

        164.   To force Perforadora to accept the 2017 Proposed Pemex Amendments, from

April to September 2017, Pemex repeatedly threatened to terminate all the Oro Negro Contracts.

In addition, Pemex refused to approve and pay Perforadora         outstanding invoices even though

the Rigs remained in operation and Pemex pumped oil using the Rigs. From April to September

2017, while Pemex was pressuring Perforadora to accept the 2017 Proposed Pemex Amendments,

Perforadora accrued close to $90 million in unpaid daily rates.

        165.   Given this turn of events, Oro Negro, which often communicated with its

Bondho                                                                  that ARCM would support

Oro Negro and prevent Pemex from imposing its draconian terms. But the opposite occurred.

As Leand testified in his April 26, 2019 deposition in this Chapter 15 Proceeding, none of the

members of the Ad-Hoc Group or their representatives ever contacted Pemex to request that

Pemex refrain from imposing the 2017 Proposed Pemex Amendments and fulfil its promise of

returning to the original terms.




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II.       The Ad-Hoc Group

          A.      Formation and Members

          166.    In or around May 2017, the Ad-Hoc Group, owning approximately 60% of the

Bonds, was formed. As of no later than May 2017, the members of the Ad-Hoc Group were

(a) Alterna; (b) ARCM; (c) CQS; (d) GHL; (e) MFC; and (f) SFIL. 6                     The Ad-Hoc Group

engaged the law firm of Paul, Weiss, Rifkind, Wharton & Garrison

represent them. MFC purportedly left the Ad-Hoc Group in December 2018.

          167.    On information and belief, none of the members of the Ad-Hoc Group purchased

                                                                   but, instead, purchased them at prices

ranging from 45% t                                       i.e., they have paid from $243 million to $351

million for their Bonds.

          168.    The Ad-Hoc Group members holding the largest amount of Bonds are GHL and

SFIL, which are owned or controlled by Fredriksen. Leand has stated that Fredriksen

the largest bond holder [of Oro Negro Drilling].            As described above (supra ¶ 65), Fredriksen

owns or controls Seadrill, which owns 50% of Seamex.7

          B.      The Ad-

                  1.      AMA and Leand

          169.    AMA and Leand have been key participants in the Ad-                                scheme.

AMA specializes in investing in the shipping and offshore industries and in advising creditors of

shipping and offshore companies, including companies that service Pemex.




6
      Contrarian Capital Management, LL                             -Hoc Group in early October 2017.
7
    Other Bondholders include Borr (described supra ¶ 102, n.5). Borr was established and is managed by several
former senior Seadrill executives.



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       170.    From 2015 to date, AMA has served as

connection with Oro Negro.

       171.    Leand is AM                                          O.    Leand has a very close

relationship with Fredriksen and his companies. For example, Leand was a member of the Board

of Directors of (a) Seadrill from 2013 to July 2018; (b) SFIL from 2003 to August 2018;

(c) North Atlantic Drilling Limited, one of Fredriksen               companies, from 2012 to 2018;

and (d) Frontline, one of Fredriksen                            , since 2015. In addition, AMA has

advised Fredriksen

       172.    Leand abruptly resigned from the Board of Directors of SFIL in August 2018

after the Foreign Representative served SFIL, through him, with a subpoena in the Chapter 15

Proceeding.

       173.    In 2017, AMA negotiated and entered into a new engagement agreement with the

Bondholders to advise them in connection with Oro Negro

Pursuant to the AMA Engagement Agreement, the Bondholders must pay AMA a monthly fee of

$125,000. To date, on information and belief, AMA has received approximately $3 million

under the AMA Engagement Agreement.

       174.    Under the AMA Engagement Agreement, AMA is entitled to a success fee of $5

million if the Bondholders are successful in taking over the Oro Negro Contracts or the Rigs. 8

Specifically, the AMA Engagement Agreement entitles AMA to a success fee, inter alia, (a) if

the Bondholders         re[] control over all or any part of the securities or assets of [Oro Negro

Drilling or the Singapore Rig Owners], directly or indirectly, whether by way of acquisition of

securities, assets, or any merger, amalgamation, business combination, recapitalization,

8
    The AMA Engagement Agreement is governed by New York law.



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restructuring, liquidation or similar transaction of or involving [Oro Negro Drilling or the

Singapore Rig Owners] and the Bondholders Group                      if

Singapore Rig Owners] and/or the Bondholders acquire[] the ability to physically direct the

operation of the [the Rigs

        175.   This success fee, which is at the upper end of success fees AMA charges to its

clients, is an extraordinary incentive to cause the seizure of the Rigs. On information and belief,

it is unusual for a financial advisor to a creditor group to receive a success fee only if control of a

debtor or certain assets of a debtor are handed to the creditor.

               2.      Aagaard

        176.   Another key participant in the Ad-                                       Aagaard. As

stated above (supra ¶¶ 122 123), Aagaard is an expert on rig operations, who acted as the



        177.   In early 2017, Oro Negro appointed Aagaard as its COO, and thus he had access

to               material non-public information. Unbeknownst to Oro Negro, Aagaard was a

mole for Fredriksen, AMA and Leand, whose objective was to report to them on the status of

Oro Negro and ensure that Fredriksen       companies and the Bondholders could easily take over

the Rigs and the Oro Negro Contracts when the time was right.

        178.   For example, on March 21, 2017, Aagaard corresponded with Per Wullf                        ,

at the time the CEO of Seadrill. Wullf congratulated Aagaard for his recent appointment as Oro

               and celebrated that Aagaard would now be in a position where he could ensure a

seamless takeover of Integradora and its subsidiaries by Fredriksen       companies.

        179.   Further, from September 19 to October 11, 2017, while he was still an officer of

Oro Negro, Aagaard leaked confidential information of Oro Negro to the Ad-Hoc Group and



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Seadrill, including legally privileged information, to further the Ad-               plans to take

over the Rigs and the Oro Negro Contracts. For example, Aagaard:

              (a)     informed Leand in real time when Pemex delivered to Perforadora the

                      letters purporting to terminate the Oro Negro Contracts;

              (b)     sent copies of those termination letters to Leand;

              (c)     sent to Leand an internal Oro Negro email reflecting legal advice           an

                      email from Per

                      indicating that,

                      terminations were unlawful and unenforceable; and

              (d)     transmitted to Seadrill and AMA information regarding the location of the

                      Rigs and their status, as well as information that Aagaard was obtaining

                      from Pemex regarding the dates when it would deliver the Rigs to

                      Perforadora in furthe                                                   Oro

                      Negro Contracts.

       180.   Aagaard resigned from Integradora on October 12, 2017.             At all times that

Aagaard was transmitting information to the Defendants, they were aware that Aagaard was a

senior officer of Oro Negro. The Ad-Hoc Group, AMA and Leand have taken no steps to

prevent Aagaard from sharing with them privileged or confidential information that he obtained

regarding Oro Negro during his time as its COO.

       181.   Upon his departure from Integradora, the Bondholders formally retained him as a

consultant. He is handsomely compensated with a daily fee of $850, which equates to an annual

consulting fee of about $310,000.




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       C.      The Coordinated Activities of Pemex and the Ad-Hoc Group

       182.    The Ad-Hoc Group wanted Pemex to successfully force Perforadora to accept the

2017 Proposed Pemex Amendments because this would ensure that Oro Negro Drilling would

eventually default on the Bonds upon their maturity, thereby allowing the Bondholders to

foreclose on, or take possession of, the Rigs. Either way, Perforadora would no longer be a

competitor of Seamex and the Ad-Hoc Group would hold the Rigs, which are worth well above

what they paid for their Bonds.

       183.    As set forth above (supra ¶ 164), in order to compel Perforadora to accept the

2017 Proposed Pemex Amendments, starting in March 2017, Pemex threatened to cancel the Oro

Negro Contracts and stopped paying what it owed to Perforadora, even though Pemex continued

to use the Rigs.

       184.    Starting in or around April 2017, principals of MFC and ARCM met with Pemex

to discuss Oro Negro. Specifically, by no later than April 2017, ARCM, including its CEO Ercil,

and MFC, including its CEO Bodden, met with, corresponded and had telephone conferences



                                       with Pemex were brokered by Antonius, their lobbyist.

ARCM, MFC and their principals, reported to AMA and Leand regarding their conversations

with Pemex.

       185.

including:

       (a)     José Antonio González-Anaya     González                    from February 2016

               to November 2017 (when he became the Minister of Finance of México);

       (b)     Juan Pablo Newman-Aguilar                               Corporate Director of

               Finances (equivalent to a CFO) from November 2015 to January 2018;
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       (c)     Miguel Ángel Servín           Serví     ,                              from April

               2016 to date; and

       (d)     Carlos Alberto Treviño-Medina          Trevi                          Director of

               Management and Services (equivalent to a COO) from February 2016 to

               November 2017, when he replaced José A, González as CEO, until January 2018.

       186.

Fredriksen                                                                                      ,

between Ercil and Oavik Svanevik                      , a close advisor of Fredriksen who was

primarily responsible for the Seadrill Restructuring, Ercil stated that he was meeting with Pemex

to discuss Oro Negro as a quid pro quo for Seadrill to provide better terms to ARCM in its

investment in the Seadrill Restructuring. Ercil forwarded the email exchange to Leand and

                                        Leand agreed to convince Svanevik to give to ARCM the

terms that ARCM was seeking.

       187.    In those meetings, on information and belief, Pemex, ARMC and MFC agreed

that Pemex would force Perforadora to accept the 2017 Proposed Pemex Amendments and that,

if Perforadora refused to accept them, Pemex would cancel the Oro Negro Contracts so that the

Bondholders could then take over the Rigs and lease them to Pemex. On information and belief,

they knew Oro Negro could not accept the 2017 Proposed Pemex Amendments without

effectively placing Oro Negro in permanent and irreversible financial distress.

       188.    When Pemex proposed the 2017 Proposed Pemex Amendments and then began to

pressure Perforadora to accept them, Oro Negro reached out to the Ad-Hoc Group to discuss

amending the Bonds. On August 28, 2017, Oro Negro proposed that Oro Negro would repay the

Bonds by (a) issuing to the Bondholders new bonds (totaling $300 million) and equity in



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Integradora; (b) making a cash payment of $30 million; and (c) turning over possession of the

Primus.

       189.      The Ad-Hoc Group rejected this offer and instead demanded that Oro Negro

relinquish all available cash to the Bondholders as partial payment of the Bonds. The Ad-Hoc

Group insisted that Perforadora accept the 2017 Proposed Pemex Amendments. In August and

September 2017, the Ad-Hoc Group sent three letters to Oro Negro demanding that Perforadora

yield to Pemex and accept the 2017 Proposed Pemex Amendments.

       190.      The Ad-

holders of the Bonds.      In telephone conferences in August 2017, Leand represented to a

Bondholder

and that Pemex would determine what daily rates to pay its vendors based on the needs and

preferences of

       191.      On information and belief, Leand reported this to the Ad-Hoc Group. Thus, by

August 2017, the Ad-Hoc Group knew that Pemex would favor the Bondholders, not Oro Negro.

       192.

pay its daily rates and fearing that Pemex would unlawfully purport to cancel the Oro Negro

Contracts, Perforadora informed Pemex that it would accept the 2017 Proposed Pemex

Amendments.

       193.      Despite Perforadora

Pemex Amendments. As a result, by early September 2017, Perforadora feared that Pemex was

preparing to illegally terminate the Oro Negro Contracts.

       194.      As a consequence of Pemex failing to execute the 2017 Proposed Pemex

Amendments, which would have made the 2015 and 2016 Amendments permanent, the



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temporary terms of the 2015 and 2016 Amendments expired in late 2017 and the Oro Negro

Contracts returned to their original terms (i.e., to their original daily rates and duration).




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                        PART III: EVENTS AFTER SEPTEMBER 11, 2017

I.      The               Proceeding

        A.     Concurso Request

        195.   To protect                             creditors and employees, on September 11,

2017, Perforadora filed for restructuring in México, known as a concurso mercantil.

Perforadora    concurso mercantil proceeding was assigned to the Second District Court for Civil

Matters of México City (Juzgado Segundo de Distrito en Materia Civil en la Ciudad de México)

(as defined above,        Concurso Court .

        196.   Perforadora immediately sought injunctive relief to prevent Pemex from

terminating the Oro Negro Contracts and ceasing to perform under the Oro Negro Contracts. At

the time that Perforadora filed its concurso petition, Pemex owed it approximately $90 million in

past due daily rates.

        197.   Perforadora requested that the Concurso Court issue injunctions to maintain its

status quo, including expressly prohibiting (a) Pemex from terminating the Oro Negro Contracts

or ceasing to pay Perforadora the daily rates under the Oro Negro Contracts; (b) the Bondholders

from foreclosing on the Rigs; and (c) Deutsche México from disbursing any trust funds other

than to Perforadora to operate its business.

        198.   On September 29, 2017, Integradora commenced its concurso mercantil

proceeding before the Concurso Court. Upon commencing its concurso mercantil proceeding,

Integradora requested that the Concurso Court consolidate the Integradora proceeding with the




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pending Perforadora proceeding and thus, that the Concurso Court decide them simultaneously.

The Concurso Court granted this request on October 31, 2017. 9

        199.     Integradora also sought injunctive relief to prevent Nordic Trustee from

continuing to act in furtherance of its declaration of default (described infra ¶¶ 199), including

by exercising the Oro Negro Drilling Share Charge and attempting to collect on the Guarantee.

        B.       Injunctions Protecting Oro Negro

        200.     On October 5, 2017, the Concurso Court issued an order granting

request to initiate a concurso                         October 5 Order         In the October 5 Order, the

Concurso Court issued numerous injunctions, including enjoining:

                 (a)     Pemex from terminating the Oro Negro Contracts and from ceasing to pay

                         Perforadora under the Oro Negro Contracts;

                 (b)     Nordic Trustee from taking any action to terminate the Bareboat Charters;

                         and

                 (c)     Deutsche México from disbursing any funds in the Mexican Trust.

        201.     On October 8, 2017, Perforadora informed the Concurso Court that Pemex and

the Singapore Rig Owners (acting under the unlawful control of the Ad-Hoc Group) had

attempted to terminate the Oro Negro Contracts and the Bareboat Charters (infra ¶¶ 250 251).

        202.     As a result, on October 11, 2017, the Concurso Court issued an order confirming

that (a) Pemex was enjoined from terminating the Oro Negro Contracts, including taking any

steps to further its purported terminations (e.g., ceasing to pay Perforadora); and (b) Nordic

Trustee was enjoined from taking any action to terminate the Bareboat Charters, including acting



9
    This is analogous to jointly administered bankruptcy cases under the United States Bankruptcy Code. See Fed.
R. Bankr. P. 1015.



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in furtherance of the Singapore Rig Owners

      October 11 Order

        203.     Pemex moved to reconsider the scope of the October 5 and October 11 Orders.

On December 29, 2017, the Concurso Court issued an order resolving the motion (the

                                                             , the Concurso Court expressly stated that the

October 5 and 11 Orders applied retroactively and as such, that

of the Oro Negro Contracts

that the Oro Negro Contracts were valid and enforceable. 10

        204.     On October 31, 2017, the Concurso Court issued an order granting Integradora

request to initiate a concurso                         October 31 Order          n the October 31 Order, the

Concurso Court issued numerous injunctions including enjoining Nordic Trustee from

(a) exercising or taking any actions in furtherance of the Oro Negro Drilling Share Charge; and

(b) asserting any claims against Integradora under the Guarantee. Both injunctions are in effect.

        205.     The Ad-Hoc Group has blatantly violated the Concurso                          injunctions. As

set forth below (infra ¶¶ 254 255), they caused Nordic Trustee to exercise the Oro Negro

Drilling Share Charge and have been acting in furtherance of the Oro Negro Drilling Share

Charge since October 2017, mainly by acting as the purported owners of Oro Negro Drilling and

through it, of the Singapore Rig Owners.




10
    In late January 2018, Pemex filed an amparo (a remedy for the protection of constitutional rights available in
Mexican courts) against the December 29 Order. On February 21, 2018, the amparo judge stayed the December 29
Order as to Pemex pending a final decision on the amparo
                        njunctions are lawful and appropriate under Mexican insolvency law, maintaining them as
                                                               amparo is still pending.



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       C.     Disputed Concurso of Oro Negro Drilling and the Singapore Rig Owners

       206.   On September 29, 2017, when Integradora filed for concurso, Oro Negro Drilling

and the Singapore Rig Owners were also part of the concurso request.

       207.   Oro Negro Drilling and the Singapore Rig Owners, acting under the Ad-Hoc



       208.   On October 16, 2017, Integradora and Perforadora, for themselves and in the

names of Oro Negro Drilling and each Singapore Rig Owner, moved for an order from the

Concurso Court ruling that                 declaration of default and exercise of the Oro Negro

Drilling Share Charge and the Singapore Rig Owner Share Charges were invalid and unlawful

because they violated the Mexican bankruptcy law prohibition of terminating a contract or

                                         a concurso filing (th   Default Annulment Motion

On October 20, 2017, the Concurso Court denied the Default Annulment Motion on the ground



courts. Integradora, Oro Negro Drilling, the Singapore Rig Owners and Perforadora challenged

that order via an amparo     a remedy for the protection of constitutional rights available in

Mexican courts.

       209.   In March 2019, a Mexican federal court decided the amparo, ruling that the

Concurso Court could issue orders regarding Nordic Trustee

to the extent they impact Integradora and Perforadora, because Integradora and Perforadora are

Mexican companies subject to a Mexican restructuring proceeding.

       210.   The Mexican federal court remanded the case to the Concurso Court for the

Concurso Court to decide, consistent with the            rulings, whether to grant the Default

Annulment Motion. If the Concurso Court grants the Default Annulment Motion, all of the



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Bondholder                                                                             Oro Negro

Drilling Share Charge will become null, void and unenforceable.

       D.                        Actions in Contravention of the Concurso Proceeding

       211.    As described above in this section, the Concurso Court issued several injunctions

during October 2017 that were meant to protect Integradora

businesses and operations and preserve their status quo during the concurso. The Ad-Hoc Group

responded by implementing a carefully calculated plan to skirt those injunctions and ensure that

Integradora and Perforadora would lose control of the Rigs, run out of money, and end up in

liquidation.   The Ad-Hoc Group never had any intention of allowing Integradora and its

subsidiaries to successfully reorganize   their plan has always been one and the same: to destroy

the business of Integradora and its subsidiaries by taking over the Rigs and the Oro Negro

Contracts.

       212.    The Defendants were no doubt angered by the commencement of the concurso

proceeding and have repeatedly defied the orders of the Concurso Court.

       213.    At no time during the concurso have the members of the Ad-Hoc Group acted as

reasonable commercial lenders or in good faith. They did not care about maximizing recovery

on the Bonds; the goal was to put Oro Negro out of business and take over the Rigs

               1.     Pemex and the Ad-Hoc Group Collude to Terminate the Oro Negro
                      Contracts on October 3, 2017

       214.    Even though Perforadora had already sought concurso protection, including

seeking injunctive relief to prevent the termination of the Oro Negro Contracts, on October 3,

2017, Pemex delivered letters to Perforadora purporting to terminate the Oro Negro Contracts

     Termination Letters .




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       215.    By this time, Pemex owed Perforadora $96 million for past due services and

immediately became liable for future amounts due under the Oro Negro Contracts. The table

below reflects the amounts that Pemex would owe Perforadora through the maturity of each

Pemex Contract:

                Pemex Contract                        Daily Rates Through End of Contract
                Primus Contract                                     $82,520,000
                Laurus Contract                                     $140,555,000
                Fortius Contract                                    $180,621,000
                  Decus Contract                                    $192,544,000
                Impetus Contract                                    $219,050,000
                      Total                                         $815,291,000


       216.    As to the Oro Negro Contracts for the Primus, Laurus, Fortius and Decus, Pemex

asserted in the Termination Letters that it was terminating the contracts because Pemex had

entered into lease agreements with other vendors of Rigs for a daily rate of $116,300 and

Perforadora had purportedly failed to accept leasing the Rigs to Pemex for that rate.

       217.    These four Oro Negro Contracts do not contain any provision allowing Pemex to

unilaterally terminate them on the ground that it obtained better rates from Perforadora

competitors, and thus Pemex could not terminate the Oro Negro Contracts for that reason.

       218.    Moreover,                                         foradora accepted that rate on

August 11, 2017, when it accepted the 2017 Proposed Pemex Amendments (supra ¶¶ 192 193);

it was Pemex that failed to execute.

       219.    On October 26, 2017, Perforadora sued Pemex in a Mexican federal court,

seeking a declaration that Pemex breached the Decus, Fortius, Laurus and Primus Contracts by

unlawfully terminating them, and demanding performance and damages.


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       220.    In February 2019, that Mexican federal court issued a 176-page judgment ruling

that Pemex breached the Decus, Fortius, Laurus and Primus Contracts by terminating them and,

as such, that the terminations of those Oro Negro Contracts were unlawful, invalid and

unenforceable. The court held that (a) Pemex did not have the right to unilaterally terminate the

Oro Negro Contracts on the ground that other vendors had yielded to better terms than

Perforadora; and (b) in any event, Perforadora had already agreed to modify the Oro Negro

Contracts as Pemex had demanded. Pemex appealed this ruling and the appeal is pending.

       221.    As to the Pemex Contract for the Impetus, Pemex asserted in the Termination

Letter that it was terminating it because Perforadora had filed for concurso. Analogous to the

unenforceability of certain ipso facto clauses as a matter of United States bankruptcy law,

terminating a contract in México because a counter-party files for concurso is unlawful and

unenforceable because it violates a rule in the Mexican Bankruptcy Code expressly prohibiting

termination of a contract (or taking a                                                  due to a

concurso filing.

       222.    On November 7, 2017, Perforadora sued Pemex in the concurso proceeding (in an

ancillary proceeding within the concurso) seeking a declaration that Pemex breached the Impetus

Contract by unlawfully terminating it, and demanding performance and damages. The case

remains pending as of the date of this Complaint.

       223.    Even if Pemex had validly terminated the Oro Negro Contracts, each Pemex

Contract provided that Pemex had to pay Perforadora, as liquidated damages, all the remaining

daily rates through the end of the Contracts          Here, as set forth above, the total amount

due to Perforadora under the Oro Negro Contracts from the purported October 3, 2017 date of




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termination through maturity of the Oro Negro Contracts is approximately $815 million. Pemex

has failed to make this payment to Perforadora.

        224.   Aside from breaching the Oro Negro Contracts by unlawfully terminating them,

in defiance of the Concurso Court     October 5 and 11 Orders (which prohibited Pemex from

terminating the Oro Negro Contracts or acting in furtherance of any purported terminations),

Pemex returned the Rigs to Perforadora and stopped paying the daily rates, including past due

daily rates.

        225.   Perforadora repeatedly sought relief from the Concurso Court, which the

Concurso Court repeatedly granted. For example, on June 18, 2018, the Concurso Court issued

an order instructing Pemex to pay the approximately $96 million that it owed for services

provided by Perforadora prior to October 3, 2017. Pemex did not comply with the June 18 order.

On July 24, August 22 and September 4, 2018, the Concurso Court issued additional orders,

reiterating          obligation to pay the $96 million and holding Pemex and its CEO in

contempt for their failure to comply with the June 18 order. Finally, on September 4 and 6, 2018,

Pemex paid approximately $96 million.

        226.   Because                               only customer and the amounts it owed to

Perforadora would be the only source of repayment of the Bonds, it is reasonable to have

expected the Ad-Hoc Group to af                                   efforts to collect from Pemex,

including in the concurso proceeding and the Mexican federal court.

        227.   The Ad-Hoc Group never lifted a finger despite repeated requests for assistance

by Perforadora. Specifically, on three occasions during the concurso, Perforadora formally

requested that the Ad-Hoc Group, directly or through Nordic Trustee, assist Perforadora in

obtaining payment from Pemex. Perforadora advised the Ad-Hoc Group that such payment was



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necessary for the maintenance of the Rigs. The Ad-Hoc Group never responded to any of

                s requests.

         228.     Rather, the Ad-Hoc Group worked affirmatively against Oro Negro, and with

Pemex, so that Pemex would terminate the Oro Negro Contracts and instead award identical

contracts to them and/or to Seadrill or Seamex, after the Ad-Hoc Group took over the Rigs.

Once Pemex actually did purport to terminate the Oro Negro Contracts, the Ad-Hoc Group

celebrated the move an

Pemex.

         229.     For example, in an email dated September 20, 2017, after Perforadora had

commenced the concurso,                                       CEO Bodden,

discussed that the Ad-

                                                  Rigs because the



         230.     The Ad-                                         by Leand in an email to Borr, a

Bondholder (but not an Ad-Hoc Group member), dated October 4, 2017. Leand stated that the

plan was to (a)

                                         )              h Pemex to discuss the new contracts which

                                             )

                                                                                     )

communications directly with Oro employees in Ciudad del Carmen to make sure they know



         231.     Pemex initially had no plans to terminate the Oro Negro Contracts as a result of

                 concurso filing. In an email from Ercil to Leand dated September 20, 2017, Ercil



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stated I just had an email exchange with the client [i.e., Pemex]

about the news. They said we can focus on next steps in a week or so            Therefore, the Ad-Hoc

Group knew that it had to convince Pemex to terminate the Oro Negro Contracts.

        232.     On September 28, 2017, members of the Mexican law firm that represents the Ad-

Hoc Group met with Pemex, including with

                                                          ing, the Ad-Hoc Group and Pemex agreed

that (a) Pemex would attempt to cause the Concurso                                       concurso filing,



          11
               and (b) Pemex would terminate the Oro Negro Contracts and give new contracts to

the Ad-



        233.     In his April 26, 2019 deposition in this Chapter 15 Proceeding, Leand conceded

that the Ad-

could take control of Oro Negro        Leand confirmed that the Bond Agreement allowed for no

such thing.

        234.     Leand also conceded that it was improper and prejudicial to Perforadora for

Pemex and the Ad-Hoc Group                                                                      concurso

request because the concurso, as well as the injunctive relief that Perforadora was seeking, were

necessary for Oro Negro to survive and pay the Bondholders.

        235.     In parallel to their interference with the Oro Negro Contracts, the Ad-Hoc Group

improperly asserted control over the Singapore Rig Owners. From September 21 to September


11
                operar) is a term used in México to denote using intermediaries to pay bribes or otherwise
improperly exert influence on Mexican government officials.



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23, 2017, AMA identified, recruited and negotiated the compensation of Defendants Bartlett and

Hancock to serve as the two new directors of Oro Negro Drilling and the Singapore Rig Owners.

       236.   On September 25, 2017, Nordic Trustee, instructed by the Bondholders, declared

Oro Negro Drilling in default and appointed Bartlett and Hancock to act as directors of Oro

Negro Drilling and the Singapore Rig Owners. In appointing Bartlett and Hancock as directors,

the Ad-Hoc Group gained full control of Oro Negro Drilling and the Singapore Rig Owners.

       237.   In gaining control of the Singapore Rig Owners, the Ad-Hoc Group positioned

                                                                            nations of the Oro

Negro Contracts and to then demand that Perforadora turn over the Rigs to the Singapore Rig

Owners.

the Singapore Rig Owners, acting under the unlawful control of the Ad-Hoc Group, sent an

email to Perforadora purporting to terminate the Bareboat Charters and demanding that

Perforadora return to them the Rigs on the sole ground that Pemex had validly terminated the

Oro Negro Contracts. The Ad-Hoc Group caused the Singapore Rig Owners to attempt to

terminate the Bareboat Charters so that the Ad-Hoc Group could take over the Rigs and negotiate

new contracts with Pemex.

       238.   The Ad-Hoc Group was confident that it would succeed. For example, in late

September and early October 2017, the Ad-Hoc Group agreed with Seadrill and Fintech

Advisory that, when Pemex terminated the Oro Negro Contracts, causing the termination of the

Bareboat Charters, the Singapore Rig Owners would then bareboat the Rigs to Seamex. Seamex

would manage the Rigs and lease them back to Pemex.

       239.   AMA and its principals, including Leand, Seadrill and its principals, and Fintech

Advisory and its principals exchanged numerous emails and participated in meetings and



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telephone conferences starting on September 29, 2017 to discuss this plan. In a September 29

email from Leand to Anton Dibowitz                    ,                  Leand

have possession of the rigs but we will not able to grab any of the Mexican companies [i.e.,

Integradora and Perforadora]

       240.    In the following days, but before any termination of the Oro Negro Contracts or

termination of the Bareboat Charters, Seadrill and the Ad-Hoc Group, through AMA and Leand,

                                                            Seamex would manage the Rigs after

the Ad-Hoc Group took over them and would lease them to Pemex. Seamex would also have a

right of first refusal to purchase the Rigs if and when the Ad-Hoc Group decided to sell them.

       241.    Seadrill, the Ad-Hoc Group and AMA kept Fintech Advisory informed of the

discussions regarding the management agreement and thus, Fintech Advisory knew of and

authorized the management agreement. As Fintech Advisory testified in its deposition in this

Chapter 15 Proceeding, Seadrill, Fintech Advisory and AMA discussed that Pemex had not yet

terminated the Oro Negro Contracts but that it was necessary for Pemex to terminate them before

the Concurso                                concurso filing and issued injunctive relief.

               2.       Pemex and the Ad-Hoc Group Collude to Ignore Concurso Court Orders

       242.    The Concurso Court        October 5 and 11 Orders threw a wrench into the

              scheme.

       243.    The Defendants clearly understood the significance of these Orders, i.e., they

understood that the Oro Negro Contracts had not been terminated and would remain in effect. In

a text message dated October 18, 2017, from Leand to the CEO of SFIL, Leand stated that:

 Meeting went well. Still seem to be committed. It may take pemex 3 to 4 months to get a court

to approve the termination but they will have to continue to pay until then.



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       244.   Despite this acknowledgement, again, the Ad-Hoc Group took no steps, and did

not direct Nordic Trustee to take any steps, to assists Perforadora in recovering money due and

owing by Pemex.

       245.   Similarly, internal Seadrill documents discussing its agreement with the Ad-Hoc

Group to take over the Rigs indicated that [o]n October 6th, Mexican courts awarded protection

to Oro Negro stated that Pemex needed to reinstate the contracts, that Nordic Trust needed to

refrain from terminating the rig BBC agreements, and that Deutsche Bank refrain [from]

assigning or disposing the rights and property of Oro Negro. On October 18th, Mexican courts

reaffirmed that Pemex needed to reinstate the contracts and Nordic Trust refrain from



       246.   The absurdity of the Ad-              s efforts to undermine Oro Negro to ensure

that Oro Negro would lack money to repay the Bonds is demonstrated by its repeated attempts

between October 2017 and January 2018 to convince Pemex to sign a common interest

agreement.

       247.   Specifically, the Ad-Hoc Group drafted a common interest agreement that

expressly stated that the Ad-Hoc Group and Pemex had a com                                        s

purported termination of the Oro Negro Contracts. From mid-October 2017 to January 2018, the

Ad-Hoc Group and its agents, including Leand, met, corresponded or had telephone conferences

on numerous occasions with Pemex and its agents, to discuss and negotiate the common interest

agreement. According to the draft of the common interest agreement, the Ad-Hoc Group and

        determined that they have common legal interests in [(i) establishing the validity of

                                                                 with Perforadora Oro Negro, S.

                                     Perforadora        he lease of five (5) oil drilling rigs (the



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 Rigs                                                         production activities, (ii) analyzing,

evaluating and potentially pursuing any and all matters pertaining to a potential transaction

involving new leases with respect to any of the Rigs, and (iii) any other matters relating to the



         248.   It is inconceivable that a commercially reasonable lender acting in good faith

would take such a position.

         249.   Further, as Leand testified in his April 26, 2019 deposition in this Chapter 15

Proceeding, none of the members of the Ad-Hoc Group or their representatives ever contacted

Pemex to request that Pemex refrain from terminating the Oro Negro Contracts or even pay

Perforadora what Pemex owed as of the time when Pemex purported to terminate the Oro Negro

Contracts.

                3.       The Ad-            s Efforts to Unlawfully Terminate the Bareboat
                         Charters

         250.   As set forth above, on October 5, 2017, two days after Perforadora received

                     tion Letters, the Singapore Rig Owners, acting under the unlawful control of

the Ad-Hoc Group, purported to terminate the Bareboat Charters and demanded that Perforadora

return to them the Rigs on the sole ground that Pemex had validly terminated the Oro Negro

Contracts.

         251.   The Ad-Hoc Group caused the Singapore Rig Owners to attempt to terminate the

Bareboat Charters so that the Ad-Hoc Group could take over the Rigs and lease them back to

Pemex.

                4.       The Ad-            s Illegal Seizure of Control of the Singapore Rig
                         Owners and Misuse of Estate Cash

         252.   As set forth above in this section, Perforadora filed for concurso on September 11,

2017. Integradora publicly                                                            Based solely

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                                        announcement that Perforadora had filed for concurso, on

                                                                               Declaration of Default . The

Ad-Hoc Group instructed Nordic Trustee to issue the Declaration of Default and indemnified

Nordic Trustee for issuing it.

        253.     Prior to September 25, 2017, Oro Negro Drilling had made every payment that it

was required to make under the Bond Agreement.                     As such, Oro Negro Drilling had not

defaulted on any of its payment obligations.

        254.     Nordic Trustee did not demand that Oro Negro Drilling pay the entire amount of

the Bonds upon issuing the Declaration of Default. Instead, the Bondholders only demanded full

payment of the Bonds more than one year later, through a payment demand to Oro Negro

Drilling dated November 14, 2018. The payment demand purported to copy Integradora and

Perforadora     however, the Bondholders concealed this payment demand from Integradora and

Perforadora and never delivered it to them. 12

        255.     Based on Nordic Trust                                           on or around September 25

2017, Nordic Trustee purported to exercise the Oro Negro Drilling Share Charge and the

Singapore Rig Owner Share Charges                                                                         and the

                                                  Hancock and Bartlett, directors recruited, paid and

controlled by the Ad-Hoc Group and AMA.13 On or around October 3, 2017, Nordic Trustee

purported to exercise the Oro Negro Drilling Share Charge and claimed the exclusive right to

exercise the shares of Oro Negro Drilling.                                 repeated actions in furtherance of
12
    Mexican bankruptcy law expressly and specifically prohibits terminating a contract or taking any action to
                                               -party files for concurso. As set forth above in this section, Nordic
                                                                        concurso filing. As such, the Declaration of
Default is unlawful and unenforceable as a matter of Mexican public policy.
13
   Cochrane, the third director of Oro Negro Drilling and the Singapore Rig Owners, had been a director of those
companies since September 2016. He was appointed by and has always been controlled by the Bondholders.



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the Oro Negro Drilling Share Charge directly violate the injunction contained in the October 31

Order issued by the Concurso Court, which expressly enjoined any actions in furtherance of the

Oro Negro Drilling Share Charge.14

        256.     Further, as of September 2017, the Singapore Rig Owners held approximately

$8 million in bank accounts. The Ad-Hoc Group caused the Singapore Rig Owners to use the

$8 million to pay the Ad-                    lawyers and advisors. Integradora should still control the

Singapore Rig Owners and thus, this cash was misappropriated by the Ad-Hoc Group.

                 5.      The Mexican Trust Fails to Comply with Concurso Court Orders, at the
                         Ad-          s Direction

        257.     Despite the Concurso                                                               d to make

numerous payments to Perforadora and instead made a substantial payment to the Bondholders.

In December 2017, in violation of the Concurso

$23 million of funds in the Mexican Trust to the Bondholders.

        258.     Deut                                                                                     ts to

starve Oro Negro of cash. On five separate occasions, on February 7, February 28, March 27,

April 2 and April 6, 2018, the Concurso Court ordered Deutsche México to disburse to

Perforadora funds for Perforadora to pay its ordinary business expenses such as taxes, salaries

and maintenance of the Rigs.

        259.     To                                                         Concurso Court threatened to

                                       if Deutsche México failed to disburse to Perforadora the funds

to pay for its ordinary business expenses. Even under these extraordinary measures, Deutsche




14
     Additionally, the October 31 Order applies retroactively and, as such, voided the exercise of the Oro Negro
Drilling Share Charge.



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México failed to comply with the Concurso

any funds to Perforadora.

         260.   On May 8, 2018, Deutsche México finally complied with the Concurso C

orders and disbursed approximately $8 million in funds to Perforadora.

         261.   The Ad-Hoc Group has made numerous efforts to prevent Deutsche México from

disbursing any funds to Perforadora   all with the sole purpose of starving Perforadora of cash to

operate the Rigs. This goal was first stated in writing on September 20, 2017, when AMA and

Bodden discussed



         262.   From October 2017 to date, Nordic Trustee and the Singapore Rig Owners, acting

under the unlawful control of the Ad-Hoc Group, have filed dozens of motions and challenges in

the concurso seeking orders that Deutsche México refrain from disbursing any funds to

Perforadora.

         263.   In March 2018, the Ad-Hoc Group caused Oro Negro Drilling to wire

approximately $50,000 to Deutsche México to pay for an amparo bond (equivalent in United

States                                                                                        ) in

connection with an amparo by Deutsche México against one of the Concurso Court orders

instructing Deutsche México to pay Perforadora. Deutsche México ultimately lost that appeal.

         264.   In April and June 2018, Oro Negro Primus and Oro Negro Decus, acting under

the Ad-                        sought and obtained preliminary injunctions from local judges in

México City (not the Concurso Court) enjoining Deutsche México from disbursing any funds to

Perforadora.




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       265.    Oro Negro Primus and Oro Negro Decus obtained these injunctions based on the

false contention that they had never received any information from Perforadora or Deutsche

México regarding the cash flow into and out of the Mexican Trust. This assertion was false

because in October 2017, Deutsche México provided to the Ad-Hoc Group all the information

and documentation regarding moneys paid to and from the Mexican Trust.

       266.    Perforadora challenged these injunctions as improper circumventions of the

Concurso                        Perforadora prevailed, setting aside the injunctions.

       267.    It is not surprising that Deutsche México has typically obeyed the Ad-Hoc

       s commands, notwithstanding express orders of the Concurso Court, because in

December 2017, Nordic Trustee and Deutsche México signed an indemnity agreement pursuant

to which Nordic Trustee would indemnify and hold harmless Deutsche México from any and all

liabilities and claims arising or resulting from its management of the Mexican Trust.

       268.    Nordic Trustee agreed to indemnify Deutsche Mexico because Nordic Trustee

was directed to do so by the Ad-Hoc Group. The indemnity was necessary because Deutsche



Perforadora of any cash.

       269.    But even Deutsche México could not ignore every Concurso Court order, and

when Pemex finally paid the $96 million as ordered by the Concurso Court, Deutsche México

was likely going to have to pay Perforadora absent a further court order. After numerous

Concurso Court orders and facing contempt, in early September 2018, Pemex finally paid into

the Mexican Trust the approximately $96 million that it owed Perforadora for services provided

until October 3, 2017. On September 10, 2018, Perforadora instructed Deutsche México to

immediately disburse to it approximately $27 million of the $96 million, which comprised value



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added tax

in providing the services to Pemex underlying the $96 million payment. On September 27, 2018,

Deutsche México disbursed approximately $13 million to Perforadora, most of which

Perforadora had to use to pay VAT.

         270.   In order to block Perforadora from receiving any of the funds, in September 2018,

as described below (infra ¶¶ 349 367), the Ad-Hoc Group improperly commenced a criminal

proceeding against Perforadora and colluded with Mexican prosecutors and judges to seize all of

the funds in the Mexican Trust that Pemex had just paid.

         271.   The Mexican Trust is currently seized and, as a result of the seizure, has not made

any payments to Perforadora since September 2018.          For example, in February 2019, the

Concurso Court ordered Deutsche México to pay approximately $13 million to Perforadora and

Deutsche México refused on the ground that the funds in the Mexican Trust are seized.

II.      The Defendants Again Interfere with the Oro Negro Contracts

         272.   The Defendants were no doubt angered by the commencement of the concurso

and the fact that their plan did not result in taking over the Rigs in October 2017. Their fears

grew when they learned that in January 2018, Pemex was set to have negotiations with

Perforadora to reactivate the Oro Negro Contracts.

         273.   Specifically, in January 2018, Antonius, the Ad-

informed Leand and Ercil that Pemex was contemplating reactivating the Oro Negro Contracts.

         274.   But the Defendants were not acting as lenders.        Leand and Ercil instructed

Antonius and Santiago Garcia              , one of the Mexican lawyers of the Ad-Hoc Group, to

prevent Pemex from reaching an agreement over the Oro Negro Contracts.

         275.   Antonius                                                                          h

Pemex. They reported to Leand and Ercil after their meeting that they had been successful.
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       276.   Pemex ultimately cancelled the meeting with Oro Negro.

       277.   Pemex never reactivated the Oro Negro Contracts.

       278.   As Leand testified in his April 26, 2019 deposition in this Chapter 15 Proceeding,

none of the members of the Ad-Hoc Group or their representatives ever contacted Pemex to

request that Pemex reactivate or otherwise perform under the Oro Negro Contracts during the

concurso.




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                     PART IV: LITIGATION OUTSIDE OF MÉXICO

I.      The Ad-Hoc Group Unleashes Litigation Around the World

        279.   The Ad-Hoc Group has unleashed a torrent of litigation, in multiple countries,

entirely outside of the Concurso Court. These litigation efforts have cost Oro Negro millions of

dollars in legal fees and costs and substantially interfered with efforts to reorganize in the

concurso.

        A.     The Singapore Litigation

        280.   On January 26, 2018, Oro Negro Drilling and the Singapore Rig Owners, acting

under the unlawful control of the Ad-Hoc Group, filed a complaint in Singapore against

Integradora and two of its managers, seeking a declaration that they could not act on behalf of

Oro Negro Drilling and the Singapore Owners in the concurso, as well as damages resulting

                               concurso                                  Singapore Proceeding

Moreover, Oro Negro Drilling and the Singapore Rig Owners sought, ex parte, to enjoin

Integradora and its managers from acting on behalf of Oro Negro Drilling and the Singapore Rig

Owners in the concurso, which a Singapore court granted on January 30, 2018.

        281.   This was an extraordinary gambit done at the behest of the Ad-Hoc Group.

Rather than have matters litigated in the Concurso Court, they ran to Singapore, ex parte.

        282.   Integradora moved to set aside the injunction and dismiss the case. In support of

                                                           opposition, Leand submitted written

testimony.

        283.   In Septem

dismissed the case in its entirety on the ground that the Concurso Court, not any court in

Singapore, would decide in due course who owns and controls Oro Negro Drilling and the

Singapore Owner

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Owners acted] in bad faith.           They not only resisted the Mexican proceedings initiated by

[Integradora] and Perforadora but had also launched fresh proceedings . . . against [Mexican

counsel for Integradora and its subsidiaries], [the Foreign Representative] and Perforadora. The

plaintiffs then applied to the Singapore courts to muzzle and/or prevent the defendants from

pursuing the pending Mexican proceedings by an anti-suit injunction. It would be a different

consideration altogether if the plaintiffs had applied to the Mexican courts to stay proceedings

there against Oro Negro and/or the rigs owners but they did not                 The Singapore court also held

        [a]n injunction is an equitable remedy. He who comes to equity must come with clean

hands

         284.    The Singapore court ordered Oro Negro Drilling and the Singapore Rig Owners to

pay $40,000 to Integradora a                                                            s. Oro Negro Drilling

and the Singapore Rig Owners appealed and their appeal is pending.

         B.      The New York Litigation

         285.    On March 15, 2018, the Singapore Rig Owners, acting under the Ad-

unlawful control, sued Perforadora in the United States District Court for the Southern District of

New York, seeking, inter alia, an order compelling Perforadora to deliver the Rigs to them. 15

         286.    The                                                in the New York Litigation made no

mention of the Concurso Court October 5 and 11 Orders expressly enjoining termination of the

Bareboat Charters. The Singapore Rig Owners never sought relief from the Concurso Court

(akin to seeking relief from stay in a United States bankruptcy case) to commence the New York

Litigation.



15
    At the time, and still to this date, Integradora and the Bondholders have been litigating in México the issue of
control over the Singapore Rig Owners.



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         287.    The Chapter 15 Proceeding stayed the New York Litigation.

         288.    On October 12, 2018, abruptly and without advance notice to this Court or the

Foreign Representative, the Singapore Rig Owners voluntarily dismissed the New York

Litigation. On information and belief, dismissal of the New York Litigation was done to

(unsuccessful                                  s jurisdiction over the Singapore Rig Owners in

connection with claims by Oro Negro resulting from their unlawful attempt to seize the Rigs      as

discussed below (infra ¶ 374), they had known for weeks that they would launch their attack to

forcibly take over the Rigs on October 19.

         C.      The Norway Lawsuit

         289.    In November 2018, Nordic Trustee initiated a proceeding in Norway to obtain a

declaration th                                                            Norwegian Declaratory

Action . Oro Negro Drilling, acting under the unlawful control of the Ad-Hoc Group, did not



         290.    On January 10, 2019, the Norwegian court ruled that Oro Negro Drilling had

defaulted on the Bonds.

         291.    Nordic Trustee did not provide notice to Integradora or Perforadora of the

Norwegian Declaratory Action.        The existence of the suit was disclosed to the Foreign

Representative only in late January 2019.

II.      The Chapter 15 Proceeding

         292.    The Foreign Representative initiated a Chapter 15 Proceeding before this Court

on April 20, 2018. The purposes of the Chapter 15 Proceeding were to (a) obtain recognition

from this Court of Integrado                          concurso; (b) stay the New York Litigation;

(c) enforce the Concurso                      (d) obtain information from several parties (the Ad-

Hoc Group, AMA, Pemex, Seamex and Deutsche México) regarding their potential misconduct.

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       293.    This Court recognized the concurso as the foreign main proceeding, stayed the

New York Litigation, granted comity to the October 5, October 11 and December 29 Orders (the

                  and authorized the Foreign Representative to obtain discovery from the Ad-

Hoc Group, AMA and Deutsche México. Eventually, as a result of evidence uncovered in that

discovery, the Court authorized the Foreign Representative to also obtain discovery from Seadrill

and Fintech Advisory.

       294.    During the second hearing in the Chapter 15 Proceeding, the Ad-Hoc Group and

AMA, through their counsel, falsely represented to this Court that they were not seeking to

dispossess Perforadora of the Rigs and were just lenders seeking to get repaid.

       295.    Their subsequent actions, as well as the discovery that they eventually provided to

the Foreign Representative, leave no doubt that they lied to this Court. Taking over the Rigs is

exactly what the Ad-Hoc Group has endeavored to accomplish since at least May 2017.

       A.      The Ad-               s Discovery Misconduct

       296.    The Ad-Hoc Group and AMA have gone to great lengths to avoid producing key

discovery to the Foreign Representative. As of the date of this Complaint, only AMA and two

members of the Ad-Hoc Group that happen to be domiciled in the United States (Alterna and

Contrarian) have produced documents. No other member has. Even though Paul Weiss, their

counsel, has appeared in the Chapter 15 Proceeding and even though the Singapore Rig Owners

(using the same counsel) commenced the New York Litigation at the direction of the Ad-Hoc

Group, every other member has hidden behind jurisdictional arguments to avoid discovery.

       297.    MFC and SFIL, two of the members of the Ad-Hoc Group, evaded service of the

                                                                   Foreign Representative sought

to serve MFC at its Miami offices, which MFC publicly held out as its headquarters as of April

2018, the month the Foreign Representative initiated the Chapter 15 Proceeding.            When
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attempting service, the Foreign Representative learned that MFC had recently evacuated the

premises, leaving no forwarding address.

        298.   Similarly, the Foreign Representative served SFIL through Leand, a long-time



Leand

        299.   Both SFIL and MFC were ultimately forced to recognize their improper practices

and Paul Weiss

behalf, but that was merely their first act of stonewalling. A month later both objected to

producing any discovery on the ground that this Court has no jurisdiction over them to compel

them to produce discovery. To this day, neither has produced a single document.

        300.   Even for the entities that have produced discovery (Alterna, Contrarian and

AMA), it has come only at great delay and cost. Among other tricks, they failed to collect and

produce documents from any of their agents, including key parties such as Aagaard and GGB,

causing the Foreign Representative to move to compel production numerous times. Likewise,

they refused, until ordered by the Court, to produce key categories of documents such as the

engagement agreements and invoices of their Mexican lawyers, which turned out to reveal key

information about the Ad-                               extensive misconduct.

        301.   As the Court indicated during a hearing on December 19, 2018,

been good-faith compliance with the discovery directives th

        B.     Seadrill               Advisory s Discovery Misconduct

        302.   Similar to the behavior of the Ad-Hoc Group and AMA, Seamex

interaction with this Court was to falsely represent that it had no interest or relationship

whatsoever with Oro Negro and thus, that the Court should deny any discovery from Seamex.

As this Court summarized it, Seadrill and Fintech falsely represented that [t]here were no other
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contacts, there was no other relationship, and that it would wholly inappropriate for this Court to

authorize any sort of a discovery motion with respect                             re just a competitor

            re doing that for an improper purpose . . . [w]e have no                re here; we have



not true.

        303.     Documents subsequently produced by AMA revealed that Seadrill and Fintech

Investments or Fintech Advisory, Seamex                                ificant interests in Oro Negro

since as early as March 2017. For example, Fintech Advisory was during, most of 2017, one of

the Bondholders, and Seadrill analyzed purchasing Oro Negro and the Rigs during the first half

of 2017.

        304.     Further, Seadrill and Fintech Advisory conspired with the Ad-Hoc Group and

AMA in late September 2017 to cause Pemex to terminate the Oro Negro Contracts so that the

Bondholders could take over the Rigs and give them to Seamex to manage under new contracts

with Pemex.

        305.     Equally important, during this Chapter 15 Proceeding, Seadrill and Fintech

Advisory misled the Foreign Representative and the Court by misrepresenting and concealing

that the owner of Seamex was Fintech Investments, not Fintech Advisory. This prevented the

Foreign Representative from seeking discovery into Fintech Investments, including to investigate

whether any member of the Ad-Hoc Group has an interest in Fintech Investments or whether

Fintech Investments has made any payments, directly or indirectly, to members of the Ad-Hoc

Group or other relevant parties such as Pemex officials. The Foreign Representative learned of

                                                                   -April 2019.




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                 PART V: THE MEXICAN CRIMINAL PROCEEDINGS

I.      Overview

        306.   Having failed to take over the Rigs in October 2017, knowing that Oro Negro

might prevail against Pemex such that Pemex would have to pay the $96 million owed since

October 2017, and having failed to stop discovery in the Chapter 15 Proceeding, the Ad-Hoc

Group grew desperate. So did AMA, which saw its $5 million success fee at risk.

        307.   But they had another card to play, one that involved their Mexican lawyers. The

Ad-Hoc Group, AMA and their agents have launched a relentless campaign to criminally

prosecute Integradora, Perforadora, and their directors, executives and employees, including Gil,

based on fabricated evidence.

        308.   As result of those criminal investigations, they came close to forcibly seizing

control of the Rigs (but failed). They did, however, succeed in freezing

in the Mexican Trust.

        309.   Even though, as described below, the criminal investigations have gone nowhere,

the relevant Defendants succeeded in their end-game; Perforadora finally ran out of money

earlier this year and, on May 15, the Concurso Court ordered them to turn over the Rigs to the

Singapore Rig Owners.

        310.   All told, the Ad-

Mexican criminal proceedings had devastating consequences on Oro Negro and its directors,

officers and employees, including Gil.     The Ad-Hoc Group Defendants and the Singapore



its ability maintain the Rigs, which ultimately allowed them to take over the Rigs.    The actions

of the Ad-Hoc Group Defendants and the Singapore                                              ation

and his business as a financial advisor and investment manager.

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II.      Mexican Criminal Counsel

         311.   In early 2018, the Ad-Hoc Group retained GGB, a Mexican criminal law firm.

GGB has two partners and a handful of associates.

         312.   In a period of only a few months, without talking to a single Oro Negro employee,

and without even notifying the Concurso Court or this Court, GGB commenced four separate

criminal proceedings in the name of the Singapore Rig Owners.

         313.   GGB accomplished this feat by using fabricated evidence against Oro Negro.

         314.   In the first half of 2018, the Ad-Hoc Group, AMA and GGB met at least twice in

                     York offices to design the strategy to take over the Rigs.

         315.   Hancock and Bartlett, the directors of the Singapore Rig Owners whom the Ad-

Hoc Group appointed in late September 2017, issued powers of attorney to GGB authorizing

GGB to act on behalf of the Singapore Rig Owners in Mexican criminal proceedings.

         316.   Under the engagement agreement, the Singapore Rig Owners would pay hourly

fees to GGB. GGB submitted all its invoices, including its hourly time entries, to AMA for

review and approval. Leand was primarily responsible for supervising and directing GGB            he

                                                   the phone and corresponded with them via text

messages and emails, in addition to meeting them at least twice in New York and once in México.

         317.   From June to December 2018, a period of just six months, the Ad-Hoc Group,

                          paid GGB approximately $2.4 million       far more than any other foreign

advisor of the Ad-Hoc Group in a similar time frame despite that GGB has not prepared any

significant work-product or performed any time-consuming tasks (e.g., no trials have taken place)

for the Ad-Hoc Group.




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       318.                                                                 ,200 hours) are either



government officials (mainly, judges, prosecutors and tax officials).

       319.     Based on the Ad-

the discovery that it provided to the Foreign Representative, GGB apparently left no written

record of the work the firm performed: (a)                                      GGB time entries

the attorneys                          st; (b) GGB has no emails or text messages with the local

government officials with whom its members extensively met or with any third-party regarding

Oro Negro or the criminal investigations; and (c)                       associates did not take one

single note during any of their hundreds of hours of meetings with local government officials.

       320.     Shockingly, there is no record of the Ad-Hoc Group or AMA ever asking GGB

even a single question regarding their time entries or services.

III.   The Four Criminal Proceedings

       321.     In the space of six months, GGB, on behalf of the Singapore Rig Owners, acting

under the Ad-                                  filed four separate criminal complaints against Oro

Negro, its directors, officers and employees, including Gil.

       322.     Tellingly, the Ad-Hoc Group has not made any similar accusations in any other

proceedings, including in the concurso or in the Chapter 15 Proceeding. If the Ad-Hoc Group

truly believed Oro Negro or its representatives had engaged in criminal behavior, it would have

brought this to the attention of the Concurso Court or this Court to cause the removal of such

persons from overseeing Oro Negro.

       323.     For example, the Ad-Hoc Group could have objected in this Court to the

recognition of the concurso proceedings, or sought modification of the recognition, on the basis

that the Foreign Representative was a criminal. Or the Ad-Hoc Group could have sought relief
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from orders of this Court to permit it to seize the Rigs on the basis that Oro Negro had

committed a crime. Of course, that would have opened the door to discovery, cross-examination

under oath and adjudication.

       A.      First Criminal Complaint

       324.    On June 18, 2018, GGB, on behalf of the Singapore Rig Owners, acting under the

Ad-               unlawful control, filed a criminal complaint before the Procuraduría General

de la República            PGR

Perforadora,                      CEO, and three of their employees falsely accusing them of

mismanaging funds in the Mexican Trust.

       325.    The                          criminal complaint falsely alleges that during 2017,

Perforadora obtained from the Mexican Trust more funds than Perforadora required to maintain

and operate the Rigs.

       326.    The Ad-Hoc Group knows that this allegation is false and was conjured by Leand

and AMA. In October and November 2017, with the 2017 bank statements of the Mexican Trust

provided to AMA and Leand by Deutsche México, the                                         of the

Mexican Trust.

       327.                                   simply compared the amounts paid by Pemex into

the Mexican Trust from January to August 2017 (approximately $138 million) with the amounts

that the Mexican Trust paid to the Singapore Rig Owners for Charter Hire (approximately $89

million) and with what Perforadora publicly reported as its expenses in the same period

(approximately $33 million).

       328.    Because the Mexican Trust should disburse to the Singapore Rig Owners as

Charter Hire the Pemex revenue that is left after paying for Perf                         AMA

concluded that Perforadora stole $16 million from the Singapore Rig Owners        the difference
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between the $89 million paid to the Singapore Rig Owners and the $105 million that result from



       329.   AMA and Leand know and understand how the Mexican Trust works and knew

that it was impossible to infer mismanagement due to the facts

AMA and Leand knew that their conclusion was false because:

       (a)    the Mexican Trust disburses funds to Perforadora based on the expenses that

              Perforadora incurs in connection with its services to Pemex (Perforadora keeps an

              accounting of the specific expenses it incurs in connection with the services

              underlying each of the invoices it issues to Pemex);

       (b)    for each payment by Pemex of each invoice submitted to it by Perforadora, the

              Mexican Trust must disburse to Perforadora the expenses that Perforadora

              incurred in connection with the services subject to that invoice; and therefore

       (c)    AMA and Leand could not have calculated how much the Mexican Trust had to

              disburse in 2017 to the Singapore Rig Owners without determining what expenses

              Perforadora had incurred in connection with the invoices that Pemex paid during

              2017.

       330.   Neither AMA nor any member of the Ad-Hoc Group ever requested any

information from Perforadora to determine which invoices Pemex paid in 2017, much less the

expenses Perforadora incurred in connection with the services supporting each of those invoices.

       331.   In his April 26, 2019 deposition in this Chapter 15 Proceeding, Leand conceded

                      was flawed because it should have entailed reviewing the invoices that

Pemex paid in 2017 and that, in all likelihood, those invoices had nothing to do with the




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expenses Perforadora incurred in 2017 because the payments that Pemex made in 2017 were

likely from 2016 invoices.

       332.                                   are obviously unrelated to services underlying

invoices issued in 2016.

       333.    At no time did AMA or the Ad-Hoc Group ask Perforadora or its managers and

employees about the allegedly missing $16 million, nor did they take any action in the Concurso

Court to obtain discovery into this issue.

       334.    Importantly, as further discussed below, on September 18, 2018, following a



bank accounts, a Mexican federal judge concluded that the allegations of mismanagement of the

Mexican Trust were completely baseless and that the PGR had no evidence demonstrating that

the Mexican Trust was in any way related to any criminal conduct.

       335.    The Ad-Hoc Group and their agents caused the Singapore Rig Owners to file that

complaint knowing that it had no merit and did that solely as a vehicle to obtain information

regarding Perforadora from the Servicio de Administración Tributaria (th   SAT

agency, that the Singapore Rig Owners subsequently used in another criminal proceeding.

       336.    On June 25, 2018, just one week after the Singapore Rig Owners filed their

complaint, the PGR sent a broad request to the SAT, seeking all available tax information

regarding Perforadora.

       337.    The SAT responded less than one week later and provided all the information the

PGR requested.     The SAT sent to the PGR a disc with hundreds of tax filings filed by

Perforadora and tax filings by third-parties reflecting services supposedly provided to them by

Perforadora (tax filings by an entity reflecting its vendors are known as Declaraciones



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Informativas de Operaciones con Terceros

filings.

           338.                                                       is highly unusual. Article 69

of the Código Fiscal de la Federación

disclosing tax information to anyone, including other government agencies, unless required by a

court order or in money laundering or tax evasion criminal investigations, which is not the case

here. On information and belief, the SAT often denies similar requests by the PGR because it

considers them a violation of Article 69.

           339.   GGB allegedly             in the documents provided by the PGR one Excel

spreadsheet reflecting that from 2014 to 2017, Perforadora had supposedly issued invoices,

totaling approximately $500,000, to 16 companies blacklisted by the Mexican government

because they facilitate tax evasion.

           340.   As further described below in this section, the information in that spreadsheet is

demonstrably false and GGB knew it.

           341.   Notably, when SAT provided this information to the PGR, the Minister of

Finance of México (the SAT is part of the Ministry of Finance) was González, who served as

                                                                      Oro Negro Contracts and who

met with the Bondholders to collude against Oro Negro.

           342.   Oro Negro learned of this investigation because it appeared in the front page of

Reforma, the largest newspaper in México, on July 11, 2018. The Ad-Hoc Group celebrated the

media coverage and were eager for the criminal investigations that they had orchestrated to

evolve.      For example, on July 23, 2018, following media coverage regarding the criminal




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       B.      Second Criminal Complaint

       343.    On June 18, 2018, the Singapore Rig Owners, acting under the Ad-

unlawful control, filed a second criminal complaint before the Procuraduría General de Justicia

de la Ciudad de México              México City DA                                                 ,

against Alonso Del Val                  , the then-Foreign Representative, for signing on behalf of

Integradora, on September 20, 2017, shareholder resolutions of Oro Negro Drilling and the

                                                          Attorney Guerra

                       n attorney, to file concurso petitions on their behalf.

       344.    The Singapore Rig Owners argue in their complaint that Del Val purportedly

misled the Concurso Court by allowing Attorney Guerra to act on behalf of Oro Negro Drilling

and the Singapore Rig Owners because, according to the Bondholders, they control Oro Negro

Drilling and the Singapore Rig Owners and they did not authorize Attorney Guerra to act on their

behalf. The Singapore Rig Owners allege that this constitutes a crime called procedural fraud

(fraude procesal), which is to mislead a public official.

       345.    This investigation is based on allegations that warrant no serious consideration.

       346.    First                                                                      is dated

September 20, 2017, Attorney Guerra filed the petitions on September 29 and Nordic Trustee

exercised the Oro Negro Drilling Share Charge on October 3. Thus, the authorization was

almost two weeks before, and the concurso filing was six days before, the date when

Bondholders purportedly became the owners of Oro Negro Drilling.

       347.    Second, the Concurso Court has not yet decided whether Nordic Trustee properly

exercised the Oro Negro Drilling Share Charge and thus, whether it validly owns and controls

Oro Negro Drilling and the Singapore Rig Owners.

       348.    This case remains pending.
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       C.     The Sham Companies Investigation

              1.      Fabrication of Evidence

       349.   In early September 2018, based on the allegations of mismanagement of the

Mexican Trust (which are described above) and

Owners, through GGB, requested that the PGR obtain a court order from a Mexican federal



       350.   On September 17, 2018, the PGR obliged and requested the seizure order. One

day later, a Mexican federal judge denied the seizure as baseless. The federal judge determined

that the Singapore Rig Owners had failed to provide any evidence that the Mexican Trust or any

of the bank accounts of the Mexican Trust or Perforadora were in any way related to, or held

proceeds of, any criminal conduct. As such, the federal judge concluded that the allegations of

mismanagement of the Mexican Trust were baseless, much less justified the seizure of the

Mexican Trust or any bank account. Additionally, the federal judge gave no weight whatsoever



       351.   The Ad-Hoc Group, through GGB, decided to go around the Mexican federal

courts and procured the assistance of friendly México City prosecutors and judges.

       352.   On September 14, 2018, the Singapore Rig Owners, still acting under the Ad-Hoc

         unlawful control, filed a criminal complaint before the México City DA against

Perforadora accusing it of issuing invoices, totaling approximately $500,000, from 2014 to 2017

to 16 companies that supposedly facilitate tax evasion. The complaint alleges that by supposedly

issuing these invoices, Perforadora committed a crime called fraudulent administration

(administración fraudulenta), which is to knowingly mismanage the finances and assets of a

company.



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           353.   By this date, Pemex had finally complied with Concurso Court orders and paid

$96 million into the Mexican Trust (supra ¶ 225). The Ad-Hoc Group knew this. The Ad-Hoc

           s plan to starve Perforadora of cash so that it would abandon the Rigs was on the verge of

failing.

           354.   On September 21, 2018, Ricardo Contreras                   , an associate at GGB,

sat for an interview with the México City DA. In the interview, Contreras stated to the México

City DA that in the PGR investigation, the PGR had obtained from the SAT tax information

regarding Perforadora and that GGB had reviewed that information.

           355.   Contreras stated that the SAT sent the PGR a disc with hundreds of tax filings

filed by Perforadora and DIOTs (tax filings that companies must file every month reflecting their

vendors) submitted by third-parties reflecting services supposedly provided to them by

Perforadora, as well as charts summarizing these tax filings.

           356.   Embedded in the hundreds of documents provided by the SAT to the PGR, GGB

supposedly                   Excel spreadsheet reflecting that from 2014 to 2017, Perforadora had

issued invoices totaling approximately $500,000 to 16 sham companies.

           357.   Contreras, however, did not provide in his interview with the México City DA a

copy of the Excel spreadsheet, much less copies of the underlying DIOTs allegedly reflecting the

invoices that Perforadora purportedly issued to these sham companies.

           358.   These sham companies are notorious in México, which explains why GGB

chose them as                                        . At the time of

these 16 companies were on a list the SAT maintains of companies that facilitate tax evasion

(known in Spanish as Empresas que Facturan Operaciones Simuladas                               Since

                             SAT has added 11 of these 16 companies to its list of EFOS.



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        359.     Additionally, most of the 16 companies were on a list published in 2017 by a

Mexican investigative think tank accusing them of being vehicles for Javier Duarte                             ,16

the governor of the Mexican state of Veracruz from 2010 to 2016, to embezzle public funds.

        360.     The                               accusations are demonstrably false.

        361.     First, Perforadora provides services only to Pemex thus, it makes no sense

whatsoever that it would have ever invoiced anyone else, much less sham companies.

        362.     Second, on information and belief, not one of the 16 companies has anything to

do with Pemex or with operating the Rigs.

        363.     Third, Perforadora conducted a comprehensive internal investigation and

determined that these allegations are false. Under Mexican law, every company, including

Perforadora, must upload their invoices to an electronic database that the SAT keeps of all

invoices. As the SAT has now confirmed in writing to Perforadora, there is no record in the

                                  a ever issuing an invoice to these sham companies.

        364.     Additionally, Perforadora reviewed all its internal accounting records, which are

electronically stored in SAP, a standard software that companies use to keep all their business

and accounting records, and found no records of any transactions of any kind related to the

 sham companies.

        365.     GGB knew or should have known that the evidence o

                                    and GGB reviewed           another document reflecting exactly the

opposite o

contained a file listing all the companies to which Perforadora had ever issued invoices and


16
     Coinciden                                           and has been accused by the media of acting as a strawmen
for Duarte by holding real estate properties on his behalf.



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which had ever issued invoices to Perforadora                                     here to be found

in that file.

         366.   Further evidence that GGB knew or should have known that the Excel

spreadsheet contained false information is that it never took any steps whatsoever to confirm the

information there, such as, for example, obtaining and reviewing the underlying DIOTs

supposedly reflecting that Perforadora had been

         367.   At no time did GGB, or any other representative of the Ad-Hoc Group, ask

Perforadora about whether Perforadora had ever

companies.

                2.       Seizure Order

         368.   Solely based on              September 21 interview, and despite the patent falsity

of the                            accusations, on September 25, 2018, the México City DA, at the

Singapore Rig Owners              sought and obtained an order from Judge Enrique Cedillo-Garcia

                     , a local judge in México City, seizing all the bank accounts of the Mexican

                                   Seizure Order       At the time, there were approximately $83

million in the Mexican Trust.

         369.   GGB did not disclose to the México City DA or Judge Cedillo that a Mexican

federal judge had already denied the very same seizure request.

         370.   GGB immediately reported to Leand. Leand immediately reported to the Ad-Hoc

Group. Early on September 26, Leand sent a text message to Bodden                 Shhh

                Bodden

         371.   GGB, the México City DA and Judge Cedillo provided no notice whatsoever to

Perforadora about the criminal investigation, much less the Seizure Order. Instead, Perforadora



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learned of the criminal investigation and the Seizure Order because the Mexican media published

articles regarding the investigation and Seizure Order on October 1, 2018.

                 3.       The Rigs Take-Over Order

        372.     Emboldened by the success of the Seizure Order, and again solely based on

                             Thursday, October 18, 2018, GGB, acting on behalf of the Singapore

Rig Owners, sought and one day later obtained a second unlawful order from Judge Cedillo. In

this order, Judge Cedillo authorized the Singapore Rig Owners, as restitution, to take possession

of the Rigs           Rigs Take-Over Order        The hearing in which GGB requested the Rigs Take-

Over Order and in which Judge Cedillo issued the Order was recorded on video. 17

        373.     Given that each Rig is worth approximately $150 million, Judge Cedillo in effect

authorized the Bondholders to dispossess Integradora of approximately $750 million in value,

based on invoices Perforadora allegedly sent to 16                 companies totaling $500,000.

        374.     The Ad-Hoc Group and GGB had planned as early as October 5, 2018, for Judge

Cedillo to issue the Rigs Take-Over Order. Starting on or around October 5, the Ad-Hoc Group,

through its agent Aagaard, began recruiting the crews that would take control of the Rigs and

equipped those crews with computers and telephones so that they would be ready to deploy as

soon as GGB obtained the Rigs Take-Over Order.

        375.     Shortly after learning of the Rigs Take-Over Order, Integradora and Perforadora

demanded that the Ad-Hoc Group and its counsel turn over the video recordings of the hearing

where GGB sought and obtained the Order. The Ad-Hoc Group lied, representing that it did not

have any copies.


17
    Courts in México City routinely take video recordings of hearings. The parties may file written requests or
request the issuance of written orders. The Singapore Rig Owners did not request in writing this Order and Judge
Cedillo did not issue a written order and thus, the only record of this is the video recording of the hearing.



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        376.   Weeks later, in the course of an amparo filed by Perforadora against the Rigs

Take-Over Order, Perforadora obtained the video recordings of the hearing. The recordings

show attorneys from GGB requesting and obtaining a copy of the video.

        377.   Upon reviewing the hearing recordings, it became obvious why the Ad-Hoc

Group concealed it from Integradora and Perforadora. The video recordings of the hearing

reflect that GGB               f the facts in support of its request lasted less than 45 minutes, and

did not include the submission of any corroborating documentation.           On the basis of that

summary, and without asking so much as a single question, or requesting any documentation,

Judge Cedillo issued the Rigs take-over order.

        378.   Further, to ensure that GGB and the Singapore Rig Owners would have all the

possible assistance from the Mexican government to enforce the Rigs Take-Over Order, Judge

Cedillo also issued orders to the Agencia de Investigación Criminal

which is the police force of the PGR, and to the Fuerzas Armadas, the Mexican army, to provide

all possible assistance to the Singapore Rig Owners in taking over the Rigs.

        379.   The events that ensued on the evening of Friday, October 19, and during the

following days, defy reality. The Ad-Hoc Group and its agents, led by Aagaard, placed their

crews in helicopters and deployed the helicopters on the evening of October 19 to fly over the

Rigs.

        380.   On Saturday, October 20 and Sunday, October 21, the helicopters attempted to

land by force on the Rigs.

        381.   On October 21, one of the helicopters flew dangerously close in attempting to

land by force on the Decus and three men jumped onboard. In attempting to land by force, the

helicopter almost caused one of the         crewmembers to fall overboard.



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         382.    Of the three men who forcibly landed on the Decus, one was a police officer from

the AIC; one purported to be a private security guard hired by GGB; and the other was Contreras,

the GGB associate who provided to the México City DA the interview that served as the sole

basis for the Seizure and the Rigs Take-Over Orders.

         383.    The AIC police officer left the Decus the same day, but Contreras and his security

guard stayed on the Decus for almost a week, refusing to leave. While they were on board,

        s partners falsely asserted, via media appearances, that Oro Negro had kidnapped

Contreras and his security guard.

         384.    In addition, during that week, Aagaard called crewmembers aboard the Rigs and

threatened them with criminal prosecution and losing their licenses to work in oil drilling

platforms if they did not let the Bondholders take over the Rigs.

         385.    The actions of the Ad-Hoc Group and the Singapore Rig Owners violated 11

U.S.C. § 1520, which stays all actions against property of a debtor located in the United States,

because they we                                    s rights under the Bareboat Charters, which are

contracts that constitute property located within the territorial jurisdiction of the United States.

         386.    The actions of the Ad-Hoc Group, the Singapore Rig Owners, and their agents

                                         , Order which gave recognition to and enforcement of the

October 5 and October 11 Orders issued by the Concurso Court. These orders prohibited

                                             rights under the Bareboat Charters.

         387.    The Ad-               restitution actions were halted by this Court. On October 23,

2018, upon a motion by Integradora and Perforadora, this Court entered a temporary restraining

order           TRO   prohibiting the Ad-Hoc Group and its agents from continuing to attempt to




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take over the Rigs or in any way deprive Perforadora of its possession of the Rigs. The TRO

expressly applied to the Singapore Rig Owners and their agents.

       388.   GGB                publicly disregarded the TRO and stated that their clients would

not comply with it. Specifically, after this Court issued the TRO, Roberto Garc

partners, made several media statements calling for México to continue using police and military

forces to assist the Singapore Rig Owners in taking over the Rigs and stating that they would not

comply with the TRO. For example, during a press conference on October 24, Roberto Garcia

                                                         Rigs Take-Over Order. During the same

press conference, Roberto Garcia

from a United Stat



       389.   Following the TRO, late on October 24, the Concurso Court also ordered the

Singapore Rig Owners to cease their unlawful actions and instructed Judge Cedillo to withdraw

the Rigs Take-Over Order, which Judge Cedillo refused to do.

       390.   Perforadora then filed an amparo against the Rigs Take-Over Order and requested

its stay pending resolution of the amparo on the ground that the Singapore Rig Owners had

obtained it surreptitiously and without notice to Perforadora.     On October 26, Perforadora

obtained a stay of the Order until a final resolution of the amparo, which is still pending.

Ultimately, three different court orders (from the Concurso Court, this Court and the amparo

court) determined that the Ad-              conduct was unlawful and instructed it to stop.

       391.   Given the chronology of events, there are numerous obvious red flags that

Mexican officials were bribed to (a) convince the SAT to fabricate or deliver to the PGR

fabricated evidence; and/or (b) procure the Seizure Order and/or the Rigs Take-Over Order. The



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Foreign Representative has sought disco                  s documents, which the Ad-Hoc Group

vehemently resisted at every turn, requiring multiple interventions by this Court. Ultimately,

GGB produced almost exclusively filings and court orders in the various Mexican proceedings

and produced no other documents or communications.

       392.    Counsel for the Foreign Representative wrote to counsel for the Ad-Hoc Group

about these red flags and requested an investigation into whether GGB engaged in corruption in

México. To date, over four months after that letter, there has been no written response.

       393.    The red flags include that:

               (a)    the SAT delivered false evidence to the PGR;

               (b)    the SAT sent to the PGR broad tax information regarding Perforadora, a

                      request that the SAT often denies the PGR;

               (c)                                                         the numerous records

                      provided by the SAT to the PGR;

               (d)    GGB knew or should have known that the information was false because

                      other documents that it reviewed indicated that Perforadora did not have

                                                                                  and GGB made

                      no attempt to verify it;

               (e)    in only eleven days after launching the investigation in the México City

                      DA, GGB obtained the Seizure Order;

               (f)    the Seizure Order seized $84 million, while the accusation against

                      Perforadora is that it issued invoices for $500,000 to 16 companies, an

                      accusation that has nothing to do with and is blatantly disproportionate

                      vis-à-vis the Seizure Order;



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               (g)   Judge Cedillo issued the Seizure Order with no supporting evidence and

                     based solely on              ex parte and unsupported statements;

               (h)   the Ad-Hoc Group and its agents knew that Judge Cedillo would issue the

                     Rigs Take-Over Order almost two weeks in advance of the day when they

                     requested and obtained it;

               (i)   the Rigs Take-Over Order authorized the seizure of close to $750 million

                     in value, while the accusation against Perforadora has nothing to do with

                     and is blatantly disproportionate vis-à-vis the Rigs Take-over Order;

               (j)   GGB obtained the Rigs Take-Over Order based solely on a short, 40-

                     minute summary at a hearing, without providing and without Judge

                     Cedillo requesting any evidence; and

               (k)   GGB has obtained more than $2.4 million in payments from the Ad-Hoc

                     Group without performing any tasks legitimately justifying that payment

                     and with no written record of the work that GGB performed.

       D.      The Fourth Criminal Proceeding

       394.    On October 21, 2018, the Singapore Rig Owners, acting under the Ad-Hoc

         unlawful control, filed a fourth criminal complaint against Perforadora and its



Rigs are located.

       395.    The Singapore Rig Owners filed this complaint during the week when they were

attempting to enforce the Rigs Take-Over Order. The complaint alleges that Perforadora and its

employees were in contempt of the Rigs Take-Over Order because they did not allow the

Singapore Rig Owners to take over the Rigs. Of course, three courts have held that the Ad-Hoc



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Group, the Singapore Rig Owners and their agents, were restrained from enforcing the Rigs

Take-Over Order.

        396.   In January 2019, the PGR filed charges against three Perforadora employees who

were on board the Rigs during the week when the Singapore Rig Owners attempted to take over

them.

        397.   A federal judge dismissed the charges on the ground that federal prosecutors and

judges do not have jurisdiction over the investigation. Since then, nothing else has happened in

the case.




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     PART VI: INTERFERENCE WITH
                 RELATIONSHIPS AND RESTRUCTURING EFFORTS

I.       Interference with the Oro Negro Contracts and
         Pemex

         A.     March 2017     September 18, 2017

                1.    Background

         398.   In March 2017, Pemex informed Perforadora that the Oro Negro Contracts would

not revert to their original terms, demanding that (a) two contracts remain suspended; and (b)

Perforadora submit to permanent daily rate reductions of approximately 27% on the other three

contracts.

         399.   The 2017 Proposed Pemex Amendments were devastating to Oro Negro in that

they would indefinitely place Oro Negro in financial distress and make it impossible to repay the

$900 million bond debt.

                2.    The Defendants Place a Mole in Oro Negro

         400.   In March 2017, Oro Negro offered Aagaard the role of COO. As described above

(supra ¶ 122 123),                                                                           and

operations of the Rigs in connection with the Bond Agreement Amendments. Following the

Bond Agreement Amendments, Oro Negro appointed him COO as a good faith gesture towards

the Bondholders to ensure a smooth and collaborative relationship going forward.

         401.   Unbeknownst to Oro Negro, Aagaard served as a mole for the Defendants with

the objective of reporting to them on the status of Oro Negro and ensuring that the Defendants

could easily take over the Rigs and the Oro Negro Contracts when the time was right. Aagaard

actions against Oro Negro included leaking confidential information to the Ad-Hoc Group and

Seadrill, including legally privileged information. Then, in October 2017, after he left Oro

Negro, he formally became a consultant for the Bondholders. In October 2018, Aagaard was

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central to the Ad-Hoc Group     attempts to illegally dispossess Perforadora of the Rigs: he hired

the crews to take over each Rig and threatened the crews on the Rigs with imprisonment and

other consequences if they did not let the Bondholders take over the Rigs.

               3.     Seadrill Analyzes Taking Over Oro Negro

       402.    During the first half of 2017, Seadrill conducted an extensive investigation into

Oro Negro including the value of the Rigs and the Oro Negro Contracts, and analyzed how

profitable it would be to absorb Oro Negro. There are dozens of emails and presentations

discussing and analyzing S                to absorb Oro Negro

or agents, including anyone from Seadrill or Seamex, ever contacted Oro Negro to discuss a

merger or any other type of transaction, much less to request information or conduct due

diligence.

               4.     The Ad-

       403.    Starting no later than April 2017, ARCM, including its CEO, Ercil, and MFC,

including its CEO, Bodden, met with and had telephone conferences with Pemex regarding Oro

Negro, including the 2017 Proposed Pemex Amendments. ARCM, MFC and their principals

reported to AMA and Leand regarding their conversations with Pemex. On information and

                                                                                  h Pemex were

brokered by Antonius, their lobbyist.

       404.    ARCM, MFC and their principals, including as a result of

efforts, met with

       405.



       406.    In those meetings, on information and belief, Pemex, ARMC and MFC agreed

that Pemex would force Perforadora to accept the 2017 Proposed Pemex Amendments and that,

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if Perforadora refused to accept them, Pemex would unilaterally cancel the Oro Negro Contracts

so that the Bondholders could then take over the Rigs and lease them to Pemex.

       407.   The Ad-                                                            interests of the

Bondholders. As such, the Bondholders knew that they controlled

treatment of Perforadora.

              5.      Outcome of the Ad-

       408.   To gradually force Perforadora to yield to the 2017 Proposed Pemex Amendments,

from April to September 2017, Pemex (a) threatened to unilaterally terminate all the Oro Negro

Contracts if Perforadora did not accept the 2017 Proposed Pemex Amendments; and (b) refused

to approve and pay Perforadora                uffocating Oro Negro financially. From April to

September 2017, while Pemex was pressuring Perforadora to accept the 2017 Proposed Pemex

Amendments, Perforadora accrued close to $90 million in unpaid daily rates.

              6.      Pressure on Perforadora to Accept the 2017 Proposed Pemex Amendments

       409.   In July and August 2017, AMA, including its CEO, Leand, ARCM, including its

CEO, Ercil, and MFC, including its CEO, Bodden, in emails and telephone conferences with

principals of Oro Negro, demanded that Perforadora yield to Pemex and accept the 2017

Proposed Pemex Amendments.

       410.   Further, in August and September 2017, the Bondholders, under the Ad-Hoc

                                    Oro Negro demanding that Perforadora yield to Pemex and

accept the 2017 Proposed Pemex Amendments.

       411.   While Pemex was forcing on Perforadora the 2017 Proposed Pemex Amendments,

                                           Oro Negro sought debt relief from the Bondholders.

The Bondholders, acting under the Ad-                                                 efforts to

amend the Bonds and refused to even discuss providing any debt relief.             Instead, the

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Bondholders demanded that Oro Negro relinquish all available cash to the Bondholders as partial

payment of the Bonds, providing no debt relief and practically ensuring default in January 2019,



       B.     September 19, 2017     October 11, 2017

              1.      Plan Against Oro Negro

       412.   The Ad-Hoc Group reacted violently to Perf                  concurso filing.     On

September 20, it designed a plan to ensure it could take over the Rigs and Oro Negro Contracts.

The plan was to (a) deprive Oro Negro of cash by preventing Deutsche México from making any

payments to Perforadora from funds in the Mexican Trust; (b) cause Pemex to terminate the Oro

Negro Contracts; (c) replace the directors of the Singapore Rig Owners so that the Ad-Hoc

Group could control those entities; and (d) cause the Singapore Rig Owners to terminate the

Bareboat Charters and demand that Perforadora deliver to them the Rigs.

              2.      Interference with Pemex

       413.   Pemex had no plans to terminate the Oro Negro Contracts as a result of

              concurso filing. Therefore, the Ad-Hoc Group and their agents knew that they had

to convince Pemex to terminate the Oro Negro Contracts.

       414.   On September 28, 2017, members of the Mexican law firm that represents the Ad-



                                                 meeting, the Ad-Hoc Group and Pemex agreed

that (a) Pemex would attempt to cause the Concurso                               concurso filing,



                    mex would terminate the Oro Negro Contracts and give new contracts to the

Ad-



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               3.     Seizure of the Singapore Rig Owners

       415.    In parallel to interfering in the Oro Negro Contracts, the Ad-Hoc Group took over

the Singapore Rig Owners.      From September 21 to September 23, 2017, AMA identified,

recruited and negotiated the compensation of Bartlett and Hancock to serve as the two new

directors of Oro Negro Drilling and the Singapore Rig Owners. On September 25, 2017, Nordic

Trustee, instructed by the Bondholders, declared Oro Negro Drilling in default and appointed

Bartlett and Hancock to act as directors of Oro Negro Drilling and the Singapore Rig Owners.

Cochrane, the third director, had been appointed by the Bondholders and had been acting under

their control since November 2016.

       416.    In gaining control of the Singapore Rig Owners, the Ad-Hoc Group positioned



Negro Contracts.

               4.     Conspiracy with Seadrill and Fintech Advisory

       417.    The Ad-Hoc Group and its agents agreed with Seadrill and Fintech Advisory that,

when Pemex terminated the Oro Negro Contracts, Seamex would manage the Rigs and lease

them to Pemex. AMA and its principals, including its CEO, Leand, Seadrill and its principals,

including its CEO, Dibowitz, and Fintech Advisory and its principals exchanged numerous

emails and participated in meetings and telephone conferences starting on September 29 to

discuss this plan.

       418.    Seadrill, Fintech Advisory and AMA discussed that Pemex had not yet terminated

the Oro Negro Contracts but that it was necessary for Pemex to terminate them before the

Concurso                               concurso filing and issued injunctive relief.




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               5.     Outcome of the Plan

       419.    On October 3, 2017, Pemex delivered letters to Perforadora purporting to

terminate the Oro Negro Contracts. Pemex had no right to terminate the Oro Negro Contracts

and as, described above (supra ¶ 221), Mexican courts have now declared those terminations

unlawful, invalid and unenforceable.      Pemex informed Seadrill and the Ad-

Mexican lawyers in real time as it was delivering the Termination Letters to Perforadora.

       420.    On October 5, 2017, the Singapore Rig Owners, acting under the unlawful control

of the Ad-Hoc Group, purported to terminate the Bareboat Charters on the sole ground that

Pemex had validly terminated the Pemex-Oro Negro Contracts.                  minations of the Oro

Negro Contracts are unlawful, invalid and unenforceable. Accordingly, so are the Singapore Rig



               6.     Aagaard Assistance

       421.    Aagaard, while he was still Oro Ne           COO, was a key figure in the plan

hatched by the Ad-Hoc Group. From October 3 to October 12, 2017, Aagaard (a) informed

Leand in real time when Pemex delivered the Termination Letters to Perforadora; (b) sent copies

of the Termination Letters to Leand; (c) sent to Leand an internal Oro Negro email reflecting

legal advice; and (d) transmitted to Seadrill and AMA information regarding the location of the

Rigs and their status as well as information that Aagaard was obtaining from Pemex regarding

the dates when it would deliver the Rigs to Perforadora, in furtherance of the Termination Letters.

       422.    Aagaard resigned from Oro Negro on October 12, 2017.

       423.    Upon his departure from Oro Negro, the Bondholders formally retained him as a

consultant. He is handsomely compensated with a daily fee of $850.




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               7.     The Concurso

       424.    The Ad-Hoc Group        plan failed. On October 5 and 11, 2017, the Concurso

Court issued orders prohibiting Pemex from terminating the Oro Negro Contracts and the

Singapore Rig Owners from terminating the Bareboat Charters. As a result, the Oro Negro

Contracts and the Bareboat Charters remained in place and the Ad-Hoc Group, Seadrill and

Fintech Advisory failed in their plan to dispossess Perforadora of the Rigs.

       425.    The Ad-Hoc Group clearly believed that the Oro Negro Contracts remained in

place. In a text message dated October 18, 2017 from Leand to the CEO of SFIL, one of

                                                  -                              Meeting went

well. Still seem to be committed. It may take pemex 3 to 4 months to get a court to approve the

termination but they will have to continue to pay until then.

documents discussing its agreement with the Ad-Hoc Group to take over the Rigs indicated that

       [o]n October 6th, Mexican courts awarded protection to Oro Negro stated that
       Pemex needed to reinstate the contracts, that Nordic Trust needed to refrain from
       terminating the rig BBC agreements, and that Deutsche Bank refrain from
       assigning or disposing the rights and property of Oro Negro. On October 18th,
       Mexican courts reaffirmed that Pemex needed to reinstate the contracts and
       Nordic Trust refrain from terminating the BBC agreements.

       C.      October 2017     February 2018

               1.     Common Interest Agreement with Pemex

       426.    From mid-October 2017 to January 2018, the Ad-Hoc Group and its agents,

including Leand, met, corresponded and had telephone conferences on numerous occasions with

Pemex and its agents, to discuss and negotiate a common interest agreement. The Ad-Hoc

Group insisted that Pemex sign it. According to the draft of the common interest agreement, the

Ad-Hoc Group and Pemex had a common interest in ensuring the termination of the Oro Negro

Contracts.


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                 2.      Interference with the Reactivation of the Oro Negro Contracts

         427.    In January 2018, Antonius, the Ad-                            Mexican lobbyist, informed

Leand and Ercil that Pemex was contemplating continuing to perform on the Oro Negro

Contracts. Leand and Ercil instructed Antonius and Garcia, one of the Mexican lawyers of the

Ad-Hoc Group, which the Ad-Hoc Group had recently hired upon

Pemex from acting under the Oro Negro Contracts.

         428.    Antonius an                                                                                th

Pemex. They reported via text messages and calls to Leand and Ercil after their meeting that

they had been successful. Indeed, Pemex never again performed under the Oro Negro Contracts.

                 3.      Attempt to Interfere with the Afores

         429.    From mid-October 2017 to January 2018, the Ad-Hoc Group and its agents

attemp                                                      with the afores, its 47% shareholders. The

Ad-Hoc                                                 Antonius, met or corresponded with the afores

with the objective of interfering in their relationship with Integradora. For example, in a text

message
                                                                          18
out if afores

II.      Interference With the Bareboat Charters and                                         hip With the
         Singapore Rig Owners

         A.      Interference with the Bareboat Charters

         430.    As described above (supra ¶ 214), on October 3, 2017, Pemex delivered the

Termination Letters to Perforadora, purporting to terminate the Oro Negro Contracts.



18
   Axis refers to Axis Capital Management, a Mexican asset management and financial advisory services firm that
manages the                                                                             ñedo, the Chairman of




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       431.   On October 5, 2017, the Singapore Rig Owners, acting under the unlawful control

of the Ad-Hoc Group, purported to terminate the Bareboat Charters on the sole ground that

Pemex had validly terminated the Oro Negro Contracts.

       B.     Interference with                                              e Singapore Rig
              Owners

       432.   The Defendants

Rig Owners in three ways:

              (a)     by causing the Singapore Rig Owners to initiate four criminal

                      investigations against Integradora, Perforadora, and their directors,

                      executives and employees, including Gil (supra ¶¶ 306 397).          These

                      investigations are based on fabricated evidence and false allegations and

                      arguments and are potentially the result of bribes to Mexican government

                      officials;

              (b)     by causing the Singapore Rig Owners to fail to pay the Reimbursement

                      Costs to Perforadora (supra ¶¶ 130 139); and

              (c)     by making it impossible for Perforadora to pay past due Charter Hire to

                      the Singapore Rig Owners as a result of the Seizure Order.

III.

       433.   The Defendants

accomplish an orderly reorganization in the concurso. Their acts of sabotage include:

              (a)     colluding with Pemex to cause Pemex to terminate the Oro Negro

                      Contracts after Perforadora filed for concurso (supra ¶¶ 214 241);

              (b)     colluding with Pemex to cause the Concurso

                      concurso filing (supra ¶ 231);


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                (c)    preventing Pemex from performing under the Oro Negro Contracts in

                       January 2018 (supra ¶¶ 272 278);

                (d)    causing Deutsche México to fail to make almost any payments to

                       Perforadora during the concurso, which has suffocated Perforadora and

                       has left it with no cash to fund its operations (supra ¶¶ 245, 257 271); and

                (e)    improperly causing the seizure of all of the funds in the Mexican Trust

                       (supra ¶¶ 324 342).

IV.

         434.   The Defendants wanted Oro Negro to

principal in January 2019. This would allow the Bondholders to foreclose on the Rigs and



         435.   Indeed, the Ad-

sufficient cash flow                         rity, guaranteeing the Bondholders steady and hefty

interest payments by Oro Negro Drilling until January 2019. That is why the Ad-Hoc Group

caused Pemex to impose the 2017 Proposed Pemex Amendments. Then, when Oro Negro filed

for concurso, the Ad-Hoc Group immediately sought to seize the Rigs and replace Perforadora in

the Oro Negro Contracts because this represented a windfall.

         436.   Given that the Rigs are each worth at least approximately $150 million (for a total

of approximately $750 million), the Ad-Hoc Group envisioned substantial profits simply by

taking over them. With the associated lease agreements that Pemex promised the Defendants,

the Ad-Hoc Group stood to make hundreds of millions of dollars in causing the cancellation of

the Oro Negro Contracts and seizing the Rigs. Seadrill and Fintech similarly stood to reap



Negro Contracts and, ultimately, the entire Oro Negro business.
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                                      PART VII: DAMAGES

           437.   The acts of the Defendants since as early as April 2017 through today have caused

substantial damage to both Perforadora and Integradora, effectively wiping out hundreds of

millions of dollars in equity value of Integradora.

           438.   Many of the Defendants sought to cause the termination of the Oro Negro

Contracts in October 2017 and subsequently interfered in January 2018 in Oro Negro

negotiations with Pemex to have Pemex perform under the Oro Negro Contracts.

           439.   In October 2                                   s purported termination of the Oro

Negro Contracts, Integradora owned the five Rigs, with an aggregate of approximately

$750 million without considering their associated Oro Negro Contracts. Perforadora also had

rights to future payments from Pemex under the Oro Negro Contracts totaling approximately

$815 million.

           440.   Thus, as of October 2017, when Pemex purported to terminate the Oro Negro

Contracts, Integradora had substantial equity value.

           441.   Further, Oro Negro has not yet received the $83 million in the Mexican Trust as a

                                                   because those funds are improperly seized and

currently under the control of the Mexican government and the Ad-Hoc Group.

           442.   Perforadora has been further harmed by the failure of the Singapore Rig Owners

to pay the Reimbursement Costs, which total $7,795,205.17.

           443.   In addition, the misconduct of the Defendants has caused Integradora and

Perforadora to incur tens of millions of dollars in legal fees and costs.

           444.                    misconduct, which includes violations of section 1520 and this

       s orders giving effect to the Concurso           s October 5 and October 11 Orders, has been

willful.
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       445.    In addition, the Ad-

brazen abuse of the criminal proceedings in México destroyed                 reputation and businesses,

including his business as a financial advisor and investment manager.

                                     CAUSES OF ACTION

                                     COUNT ONE
     (Tortious Interference and Conspiracy to Tortiously Interfere with the Oro Negro
      Contracts against the Ad-Hoc Group Defendants (Except GGB) and the Seamex
                                       Defendants)

       446.    The Foreign Representative incorporates by reference and re-alleges each and

every allegation set forth above as though fully set forth herein.

       447.    The Oro Negro Contracts were valid contracts between Pemex and Perforadora.

       448.    The Ad-Hoc Group Defendants and the Seamex Defendants knew that the Oro

Negro Contracts existed, were valid and that they were between Pemex and Perforadora.

       449.    The Ad-Hoc Group Defendants intentionally caused, or conspired to cause,

Pemex to breach the Oro Negro Contracts by arranging or participating, or conspiring to arrange

or participate, in meetings and telephone conferences with, or corresponding with, Pemex to

cause Pemex to:

               (a)     force Perforadora to yield to the 2017 Proposed Pemex Amendments,

                       which was a breach of the Oro Negro Contracts because those Contracts

                       had to return to their original terms in late 2017;

               (b)     unlawfully terminate the Oro Negro Contracts, which was a breach of the

                       Oro Negro Contracts because Pemex had no right to unilaterally terminate



                       2017 Proposed Pemex Amendments; and




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                 (c)    fail to perform under the Oro Negro Contracts in January 2018, which was

                        a breach of the Oro Negro Contracts because the Oro Negro Contracts

                        were valid and enforceable and Pemex had to pay daily rates to

                        Perforadora under those Contracts.

       450.      The Seamex Defendants agreed with the Ad-Hoc Group Defendants that the

Seamex Defendants would manage the Rigs including through new leases awarded by Pemex to

the Ad-Hoc Group and/or Seadrill or Seamex after Pemex unlawfully breached the Oro Negro

Contracts by unlawfully terminating them and the Ad-Hoc Group prevailed in unlawfully taking

over the Rigs.

       451.      The Ad-Hoc Group Defendants and the Seamex Defendants knowingly damaged

Integradora and Perforadora by interfering with the Oro Negro Contracts because this caused the

                                                                               collapse, including

the loss of all revenue and of the Rigs.

       452.      The Ad-Hoc Group Defendants and the Seamex Defendants had no justification

for interfering in the Oro Negro Contracts because they were not parties to the Oro Negro

Contracts, did not have rights in those Contracts, had no control or right

                                                                                            Rigs.

The Ad-Hoc Group Defendants and the Seamex Defendants acted with the intention of

destroying Oro Negro by ensuring its collapse and with the objective of taking over the Rigs and

the Oro Negro Contracts.

       453.      As a result of the foregoing, Integradora and Perforadora seek damages, including

punitive damages, in an amount to be proven at trial.




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                                     COUNT TWO
   (Aiding and Abetting Tortious Interference with the Oro Negro Contracts against the
                                  Seamex Defendants)

       454.    The Foreign Representative incorporates by reference and re-alleges each and

every allegation set forth above as though fully set forth herein.

       455.    The Seamex Defendants aided and abetted the Ad-Hoc Group Defendants by

agreeing with them that the Seamex Defendants would manage the Rigs including through new

leases awarded by Pemex to the Ad-Hoc Group and/or Seadrill or Seamex after Pemex

unlawfully breached the Oro Negro Contracts by unlawfully terminating them and the Ad-Hoc

Group prevailed in unlawfully taking over the Rigs.

       456.    The Seamex Defendants knowingly provided material assistance that damaged

Integradora and Perforadora by interfering with the Oro Negro Contracts because this caused the

dest                                                                         collapse, including

the loss of all revenue and of the Rigs.

       457.    As a result of the foregoing, Integradora and Perforadora seek damages, including

punitive damages, in an amount to be proven at trial.

                                    COUNT THREE
(Tortious Interference and Conspiracy to Tortiously Interfere with
  Relationship with Pemex against the Ad-Hoc Group Defendants (Except GGB) and the
                                  Seamex Defendants )

       458.    The Foreign Representative incorporates by reference and re-alleges each and

every allegation set forth above as though fully set forth herein.

       459.    Perforadora and Pemex had a business relationship.

       460.    The Ad-Hoc Group Defendants and the Seamex Defendants knew that

Perforadora and Pemex had a business relationship.




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       461.       The Ad-Hoc Group Defendants intentionally interfered, or conspired to interfere,

              business relationship with Perforadora by arranging or participating, or conspiring to

arrange or participate, in meetings and telephone conferences with, or corresponding with,

Pemex to cause Pemex to:

                  (a)    force Perforadora to yield to the 2017 Proposed Pemex Amendments,



                         including the loss of the Rigs;

                  (b)    unlawfully terminate the Oro Negro Contracts, which left Oro Negro with

                         no revenue; and

                  (c)    prevent Pemex from reactivating the Oro Negro Contracts in January

                         2018

                         its business.

       462.       The Seamex Defendants agreed with the Ad-Hoc Group Defendants that the

Seamex Defendants would manage the Rigs including through new leases awarded by Pemex to

the Ad-Hoc Group and/or Seadrill or Seamex after Pemex unlawfully breached the Oro Negro

Contracts by unlawfully terminating them and the Ad-Hoc Group prevailed in unlawfully taking

over the Rigs.

       463.       The Ad-Hoc Group Defendants and the Seamex Defendants knowingly damaged

Integradora and Perforadora by                              business relationship with Perforadora

because this caused the destruction of                                                 ensured Oro

         collapse, including the loss of all revenue and of the Rigs.

       464.       The Ad-Hoc Group Defendants and the Seamex Defendants had no justification

for interfering                    business relationship with Pemex because they were not parties



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to the Oro Negro Contracts, did not have rights in those Contracts, had no control or rights over

              business

possession of the Rigs. The Ad-Hoc Group Defendants and the Seamex Defendants acted with

the intention of destroying Oro Negro by ensuring its collapse and with the objective of taking

over the Rigs and the Oro Negro Contracts.

       465.    As a result of the foregoing, Integradora and Perforadora seek damages, including

punitive damages, in an amount to be proven at trial.

                                     COUNT FOUR
   (Aiding and Abetting Tortious Interference with        Business Relationship with
                      Perforadora against the Seamex Defendants)

       466.    The Foreign Representative incorporates by reference and re-alleges each and

every allegation set forth above as though fully set forth herein.

       467.    The Seamex Defendants aided and abetted the Ad-Hoc Group Defendants by

agreeing with them that the Seamex Defendants would manage the Rigs including through new

leases awarded by Pemex to the Ad-Hoc Group and/or Seadrill or Seamex after Pemex

unlawfully breached the Oro Negro Contracts by unlawfully terminating them and the Ad-Hoc

Group prevailed in unlawfully taking over the Rigs.

       468.    The Seamex Defendants knowingly provided material assistance that damaged

Integradora and Perforadora by interfering with the Oro Negro Contracts because this caused the

                                                                              collapse, including

the loss of all revenue and of the Rigs.

       469.    As a result of the foregoing, Integradora and Perforadora seek damages, including

punitive damages, in an amount to be proven at trial.




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                                      COUNT FIVE
                           (Alternative to Counts One to Four)
  (Intentional Torts Under Mexican Law against the Ad-Hoc Group Defendants (Except
                            GGB) and the Seamex Defendants)

         470.   The Foreign Representative incorporates by reference and re-alleges each and

every allegation set forth above as though fully set forth herein.

         471.   The Foreign Representative hereby gives notice of his intention to rely on

Mexican law.

         472.   Under Article 1910 of the Mexican Federal Civil Code and under Article 1910 of

the México City Civil Code, a party is liable for any damages that it willfully causes to another

party.

         473.   The Ad-Hoc Group Defendants intentionally injured, or conspired to injure,

Integradora and Perforadora by arranging or participating, or conspiring to arrange or participate,

in meetings and telephone conferences with, or corresponding with, Pemex to cause Pemex to:

                (a)    force Perforadora to yield to the 2017 Proposed Pemex Amendments,

                       which contained

                       including the loss of the Rigs;

                (b)    unlawfully terminate the Oro Negro Contracts; and

                (c)    fail to perform under the Oro Negro Contracts in January 2018, which



         474.   The Seamex Defendants intentionally injured, or conspired to or provided

material assistance to injure, Integradora and Perforadora by agreeing with the Ad-Hoc Group

Defendants that the Seamex Defendants would manage the Rigs including through new leases

awarded by Pemex to the Ad-Hoc Group and/or Seadrill or Seamex after Pemex unlawfully




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breached the Oro Negro Contracts by unlawfully terminating them and the Ad-Hoc Group

prevailed in unlawfully taking over the Rigs.

       475.      The Ad-Hoc Group Defendants and the Seamex Defendants knowingly damaged



                                    llapse, including the loss of all revenue and of the Rigs.

       476.      As a result of the foregoing, Integradora and Perforadora seek damages, including

punitive damages, in an amount to be proven at trial.

                                     COUNT SIX
                              (Alternative to Count Five)
(Negligent Torts Under Mexican Law against the Ad-Hoc Group Defendants (Except GGB)
                             and the Seamex Defendants)

       477.      The Foreign Representative incorporates by reference and re-alleges each and

every allegation set forth above as though fully set forth herein.

       478.      The Foreign Representative hereby gives notice of his intention to rely on

Mexican law.

       479.      Under Article 1910 of the Mexican Federal Civil Code and under Article 1910 of

the México City Civil Code, a party is liable for any damages that it negligently causes to

another party.

       480.      The Ad-Hoc Group Defendants negligently injured Integradora and Perforadora

by arranging or participating in meetings and telephone conferences with, or corresponding with,

Pemex to cause Pemex to:

                 (a)    force Perforadora to yield to the 2017 Proposed Pemex Amendments,



                        including the loss of the Rigs;

                 (b)    unlawfully terminate the Oro Negro Contracts; and


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                (c)    fail to perform under the Oro Negro Contracts in January 2018, which

                                                              eorganize and go back to business.

         481.   The Seamex Defendants negligently injured Integradora and Perforadora by

agreeing with the Ad-Hoc Group Defendants that the Seamex Defendants would manage the

Rigs including through new leases awarded by Pemex to the Ad-Hoc Group and/or Seadrill or

Seamex after Pemex unlawfully breached the Oro Negro Contracts by unlawfully terminating

them and the Ad-Hoc Group prevailed in unlawfully taking over the Rigs.

         482.   The Ad-Hoc Group and the Seamex Defendants acted negligently because they

knew, should have known or could have foreseen that their conduct would cause the destruction



revenue and of the Rigs.

         483.   As a result of the foregoing, Integradora and Perforadora seek damages, including

punitive damages, in an amount to be proven at trial.

                                         COUNT SEVEN
         (Intentional Torts
                                                          against All Defendants)

         484.   The Foreign Representative incorporates by reference and re-alleges each and

every allegation set forth above as though fully set forth herein.

         485.   The Foreign Representative hereby gives notice of his intention to rely on

Mexican law.

         486.   Under Article 1910 of the Mexican Federal Civil Code and under Article 1910 of

the México City Civil Code, a party is liable for any damages that it willfully causes to another

party.

         487.   All the Defendants intentionally damaged, or conspired to damage, Integradora

and Perforadora by sabotaging their efforts to reorganize. Their acts of sabotage include:
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               (a)     colluding with Pemex to cause Pemex to terminate the Oro Negro

                       Contracts after Perforadora filed for concurso;

               (b)     colluding with Pemex to cause the Concurso

                       concurso filing;

               (c)     entering into agreements to manage the Rigs after the Ad-Hoc Group

                       prevailed in unlawfully taking over them;

               (d)     preventing Pemex from performing on the Oro Negro Contracts in January

                       2018;

               (e)     causing Deutsche México to fail to make almost any payments to

                       Perforadora during the concurso, which has suffocated Perforadora and

                       has left it with no cash to fund its operations; and

               (f)    improperly causing the seizure of all of the funds in the Mexican Trust.

       488.    All the Defendants knowingly damaged Integradora and Perforadora by depriving

them of an opportunity to reorganize and go back to business, thereby causing their demise.

       489.    As a result of the foregoing, Integradora and Perforadora seek damages, including

punitive damages, in an amount to be proven at trial.

                                        COUNT EIGHT
                                  (Alternative to Count Seven)

                        Reorganization Efforts against All Defendants)

       490.    The Foreign Representative incorporates by reference and re-alleges each and

every allegation set forth above as though fully set forth herein.

       491.    The Foreign Representative hereby gives notice of his intention to rely on

Mexican law.




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       492.      Under Article 1910 of the Mexican Federal Civil Code and under Article 1910 of

the México City Civil Code, a party is liable for any damages that it negligently causes to

another party.

       493.      All the Defendants negligently damaged Integradora and Perforadora by

sabotaging their efforts to reorganize. Their acts of sabotage include:

       (a)       colluding with Pemex to cause Pemex to terminate the Oro Negro Contracts after

                 Perforadora filed for concurso;

       (b)       colluding with Pemex to cause the Concurso

                 concurso filing;

       (c)       entering into agreements to manage the Rigs after the Ad-Hoc Group prevailed in

                 unlawfully taking over them;

       (d)       preventing Pemex from performing on the Oro Negro Contracts in January 2018;

       (e)       causing Deutsche México to fail to make almost any payments to Perforadora

                 during the concurso, which has suffocated Perforadora and has left it with no cash

                 to fund its operations; and

       (f)       improperly causing the seizure of all of the funds in the Mexican Trust.

       494.      The Defendants acted negligently because they knew, should have known or

could have foreseen that their conduct would deprive Integradora and Perforadora of an

opportunity to reorganize and return to business, thereby causing their demise.

       495.      As a result of the foregoing, Integradora and Perforadora seek damages, including

punitive damages, in an amount to be proven at trial.




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                                     COUNT NINE
                  (By Gil Personally and as the Foreign Representative)
(Abuse of Process and Conspiracy to Commit Abuse of Process against the Ad-Hoc Group
             Defendants (Except Antonius) and the Singapore Defendants)

       496.    Gil, personally and as the Foreign Representative, incorporates by reference and

re-alleges each and every allegation set forth above as though fully set forth herein.

       497.    The Ad-Hoc Group Defendants and the Singapore Defendants have caused, or

conspired to cause, México to open four criminal investigations against Integradora, Perforadora

and their directors, executives and employees, including Gil.

       498.    The Ad-Hoc Group Defendants and the Singapore Defendants did so without any

excuse or justification, based on fabricated evidence and false allegations and arguments, and

potentially by paying bribes to Mexican government officials.

       499.    The Ad-Hoc Group Defendants and the Singapore Defendants have used, or

conspired to use, the Mexican criminal investigations not to prosecute crimes and pursue their

rights as victims of criminal offenses but rather to cause the destruction of Integradora and its

subsidiaries, including cutting their access to cash and depriving them of the Rigs through the

Seizure Order and the Rigs Take-Over Order. As such, they have used, or conspired to use, the

Mexican criminal investigations in a perverted manner to obtain their own unlawful, collateral

objective.

       500.    As a result of the foregoing, Gil, Integradora and Perforadora seek damages,

including punitive damages, in an amount to be proven at trial.




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                                      COUNT TEN
                               (Alternative to Count Nine)
                  (By Gil Personally and as the Foreign Representative)
    (Intentional Torts under Mexican Law in Connection with the Mexican Criminal
 Proceedings against the Ad-Hoc Group Defendants (Except Antonius) and the Singapore
                                       Defendants)

         501.   Gil, personally and as the Foreign Representative, incorporates by reference and

re-alleges each and every allegation set forth above as though fully set forth herein.

         502.   The Foreign Representative hereby gives notice of his intention to rely on

Mexican law.

         503.   Under Article 1910 of the Mexican Federal Civil Code and under Article 1910 of

the México City Civil Code, a party is liable for any damages that it willfully causes to another

party.

         504.   The Ad-Hoc Group Defendants and the Singapore Defendants have intentionally

injured Integradora and Perforadora by causing, or conspiring to cause, México to open four

criminal investigations against Integradora, Perforadora and their directors, executives and

employees, including Gil.

         505.   The Ad-Hoc Group Defendants and the Singapore Defendants did so without any

excuse or justification, based on fabricated evidence and false allegations and arguments, and

potentially by paying bribes to Mexican government officials.

         506.   The Ad-Hoc Group Defendants and the Singapore Defendants have used, or

conspired to use, the Mexican criminal investigations not to prosecute crimes and pursue their

rights as victims of criminal offenses but rather to cause the destruction of Integradora and its

subsidiaries, including cutting their access to cash and depriving them of the Rigs through the

Seizure Order and the Rigs Take-Over Order.




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       507.      As a result of the foregoing, Gil, Integradora and Perforadora seek damages,

including punitive damages, in an amount to be proven at trial.

                                   COUNT ELEVEN
                                  (Alternative to Ten)
                 (By Gil Personally and as the Foreign Representative)
     (Negligent Torts under Mexican Law in Connection with the Mexican Criminal
 Proceedings against the Ad-Hoc Group Defendants (Except Antonius) and the Singapore
                                      Defendants)

       508.      Gil, personally and as the Foreign Representative, incorporates by reference and

re-alleges each and every allegation set forth above as though fully set forth herein.

       509.      The Foreign Representative hereby gives notice of his intention to rely on

Mexican law.

       510.      Under Article 1910 of the Mexican Federal Civil Code and under Article 1910 of

the México City Civil Code, a party is liable for any damages that it negligently causes to

another party.

       511.      The Ad-Hoc Group Defendants and the Singapore Defendants have negligently

injured Integradora and Perforadora by causing México to open four criminal investigations

against Integradora, Perforadora and their directors, executives and employees, including Gil.

       512.      The Ad-Hoc Group Defendants and the Singapore Defendants did so without any

excuse or justification, based on fabricated evidence and false allegations and arguments, and

potentially by paying bribes to Mexican government officials.

       513.      The Ad-Hoc Group Defendants and the Singapore Defendants have used the

Mexican criminal investigations not to prosecute crimes and pursue their rights as victims of

criminal offenses but rather to cause the destruction of Integradora and its subsidiaries, including

cutting their access to cash and depriving them of the Rigs through the Seizure Order and the

Rigs Take-Over Order. They acted negligently and/or recklessly because they knew, should


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have known or could have foreseen that their conduct would cause the destruction of Integradora

and its subsidiaries, including cutting their access to cash and depriving them of the Rigs through

the Seizure Order and the Rigs Take-Over Order.

       514.    As a result of the foregoing, Gil, Integradora and Perforadora seek damages,

including punitive damages, in an amount to be proven at trial.

                                    COUNT TWELVE
    (Violation of the Implied Covenant of Good Faith and Fair Dealing in the Bareboat
                        Charters against the Singapore Rig Owners)

       515.    The Foreign Representative incorporates by reference and re-alleges each and

every allegation set forth above as though fully set forth herein.

       516.    The Bareboat Charters are valid and enforceable contracts between Perforadora

and the Singapore Rig Owners.

       517.    The Bareboat Charters contain an implied covenant of good faith and fair dealing

requiring the Singapore Rig Owners to act in good faith.

       518.    The Singapore Rig Owners breached the implied covenant of good faith and fair

dealing by acting in bad faith.

       519.    On October 5, 2017, the Singapore Rig Owners, acting under the unlawful control

of the Ad-Hoc Group, purported to terminate the Bareboat Charters on the sole ground that

Pemex had validly terminated the Oro Negro Contracts.                                   Oro Negro

Contracts are unlawful, invalid and unenforceable and were caused by the actions of the Ad-Hoc

Group, its co-conspirators and agents.

       520.    As a result of the foregoing, Integradora and Perforadora seek damages, including

punitive damages, in an amount to be proven at trial.




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                                  COUNT THIRTEEN
  (Tortious Interference and Conspiracy to Tortiously Interfere in the Bareboat Charters
     against the Ad-Hoc Group Defendants (Except GGB and Antonius), the Seamex
                         Defendants and the Singapore Directors)

       521.      The Foreign Representative incorporates by reference and re-alleges each and

every allegation set forth above as though fully set forth herein.

       522.      The Bareboat Charters were valid contracts between Perforadora and the

Singapore Rig Owners.

       523.      The Ad-Hoc Group Defendants, the Seamex Defendants and the Singapore

Directors knew that the Bareboat Charters existed, were valid and that they were between

Perforadora and the Singapore Rig Owners.

       524.      The Ad-Hoc Group Defendants, the Seamex Defendants and the Singapore

Directors intentionally caused, or conspired to cause, the Singapore Rig Owners to breach the

Bareboat Charters by causing the Singapore Rig Owners to unlawfully terminate the Bareboat

Charters based                                                       Oro Negro Contracts, which the

Ad-Hoc Group, its co-conspirators and agents had caused.

       525.      The Ad-Hoc Group Defendants, the Seamex Defendants and the Singapore

Directors knowingly damaged Integradora and Perforadora in causing the Singapore Rig Owners

to unlawfully terminate the Bareboat Charters because this ensured the collapse of Integradora

and its subsidiaries, including the loss of the Rigs.

       526.      The Ad-Hoc Group Defendants, the Seamex Defendants and the Singapore

Directors had no justification for interfering in the Bareboat Charters because they were not

parties to the Bareboat Charters, did not have rights in those Charters, had no control or rights

                                                                     rs and had no right to disturb

                                             Rigs. The Ad-Hoc Group Defendants, the Seamex


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Defendants and the Singapore Directors acted with the intention of destroying Oro Negro by

ensuring its collapse and with the objective of taking over the Rigs and the Oro Negro Contracts.

       527.    As a result of the foregoing, Integradora and Perforadora seek damages, including

punitive damages, in an amount to be proven at trial.

                                 COUNT FOURTEEN
 (Tortious Interference and Conspiracy to Tortiously Interfere
   Relationship with the Singapore Rig Owners against the Ad-Hoc Group Defendants
                     (Except Antonius) and the Singapore Directors)

       528.    The Foreign Representative incorporates by reference and re-alleges each and

every allegation set forth above as though fully set forth herein.

       529.    The Singapore Rig Owners and Perforadora had a business relationship.

       530.    The Ad-Hoc Group Defendants and the Singapore Directors knew that the

Singapore Rig Owners and Perforadora had a business relationship.

       531.    The Ad-Hoc Group Defendants and the Singapore Directors intentionally

interfered, or conspired to interfere,

Rig Owners in three ways:

               (a)     by causing the Singapore Rig Owners to initiate four criminal

                       investigations against Integradora, Perforadora, and their directors,

                       executives and employees, including Gil. The Singapore Rig Owners did

                       so without any excuse or justification, based on fabricated evidence and

                       false allegations and arguments, and potentially, by paying bribes to

                       Mexican government officials. The Singapore Rig Owners have used the

                       Mexican criminal investigations not to prosecute crimes and pursue their

                       rights as victims of criminal offenses but rather to cause the destruction of

                       Integradora and its subsidiaries, including cutting their access to cash and


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                       depriving them of the Rigs through the Seizure Order and the Rigs Take-

                       Over Order;

               (b)     by causing the Singapore Rig Owners to fail to pay the Reimbursement

                       Costs to Perforadora; and

               (c)     by making it impossible for Perforadora to pay past due Charter Hire to

                       the Singapore Rig Owners as a result of the Seizure Order.

       532.    The Ad-Hoc Group Defendants and the Singapore Directors knowingly damaged

Integradora and Perforadora in interfering in Perfor

Singapore Rig Owners because this ensured the collapse of Integradora and its subsidiaries,

including the loss of the Rigs.

       533.    The Ad-Hoc Group Defendants and the Singapore Directors had no justification

for interfering in                                                                       because

they were not parties to the Bareboat Charters, did not have rights in those Charters, had no

                                                                                      ad no right

                                                     Rigs. The Ad-Hoc Group Defendants and the

Singapore Directors acted with the intention of destroying Oro Negro by ensuring its collapse

and with the objective of taking over the Rigs and the Oro Negro Contracts.

       534.    As a result of the foregoing, Integradora and Perforadora seek damages, including

punitive damages, in an amount to be proven at trial.

                                    COUNT FIFTEEN
                      (Alternative to Counts Sixteen and Seventeen)
 (Intentional Torts under Mexican Law in Connection with the Bareboat Charters and the
    Singapore Rig Owners against the Ad-Hoc Group Defendants (Except Antonius), the
                     Seamex Defendants and the Singapore Directors)

       535.    The Foreign Representative incorporates by reference and re-alleges each and

every allegation set forth above as though fully set forth herein.
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         536.   The Foreign Representative hereby gives notice of his intention to rely on

Mexican law.

         537.   Under Article 1910 of the Mexican Federal Civil Code and under Article 1910 of

the México City Civil Code, a party is liable for any damages that it willfully causes to another

party.

         538.   The Ad-Hoc Group Defendants, the Seamex Defendants and the Singapore

Directors intentionally injured Integradora and Perforadora by interfering, or conspiring to

interfere, in the Bareboat Charters by causing the Singapore Rig Owners to unlawfully terminate

                                                                             Oro Negro Contracts,

which the Ad-Hoc Group, its co-conspirators and agents had caused. Additionally, the Ad-Hoc

Group Defendants and the Singapore Directors intentionally injured Integradora and Perforadora

by interfering, or conspiring to interfere,

Singapore Rig Owners in three ways:

                (a)    by causing the Singapore Rig Owners to initiate four criminal

                       investigations against Integradora, Perforadora, and their directors,

                       executives and employees, including Gil. The Singapore Rig Owners did

                       so without any excuse or justification, based on fabricated evidence and

                       false allegations and arguments, and potentially, by paying bribes to

                       Mexican government officials. The Singapore Rig Owners have used the

                       Mexican criminal investigations not to prosecute crimes and pursue their

                       rights as victims of criminal offenses but rather to cause the destruction of

                       Integradora and its subsidiaries, including cutting their access to cash and




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                        depriving them of the Rigs through the Seizure Order and the Rigs Take-

                        Over Order;

                 (b)    by causing the Singapore Rig Owners to fail to pay the Reimbursement

                        Costs to Perforadora; and

                 (c)    by making it impossible for Perforadora to pay past due Charter Hire to

                        the Singapore Rig Owners as a result of the Seizure Order.

       539.      The Ad-Hoc Group Defendants, the Seamex Defendants and the Singapore

Directors knowingly damaged Integradora and Perforadora by causing the termination of the

Bareboat Charters and by

Rig Owners because this ensured the collapse of Integradora and its subsidiaries, including the

loss of the Rigs.

       540.      As a result of the foregoing, Integradora and Perforadora seek damages, including

punitive damages, in an amount to be proven at trial.

                                 COUNT SIXTEEN
                            (Alternative to Count Fifteen)
 (Negligent Torts under Mexican Law in Connection with the Bareboat Charters and the
  Singapore Rig Owners against the Ad-Hoc Group Defendants (Except Antonius), the
                    Seamex Defendants and the Singapore Directors)

       541.      The Foreign Representative incorporates by reference and re-alleges each and

every allegation set forth above as though fully set forth herein.

       542.      The Foreign Representative hereby gives notice of his intention to rely on

Mexican law.

       543.      Under Article 1910 of the Mexican Federal Civil Code and under Article 1910 of

the México City Civil Code, a party is liable for any damages that it negligently causes to

another party.



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       544.   The Ad-Hoc Group Defendants, the Seamex Defendants and the Singapore

Directors negligently injured Integradora and Perforadora in interfering in the Bareboat Charters

by causing the Singapore Rig Owners to unlawfully terminate the Bareboat Charters based solely

                                         Oro Negro Contracts, which the Ad-Hoc Group, its co-

conspirators and agents had caused.     Additionally, the Ad-Hoc Group Defendants and the

Singapore Directors negligently injured Integradora and Perforadora by interfering in

                                                gapore Rig Owners in three ways:

              (a)     by causing the Singapore Rig Owners to initiate four criminal

                      investigations against Integradora, Perforadora, and their directors,

                      executives and employees, including Gil. The Singapore Rig Owners did

                      so without any excuse or justification, based on fabricated evidence and

                      false allegations and arguments, and potentially, by paying bribes to

                      Mexican government officials. The Singapore Rig Owners have used the

                      Mexican criminal investigations not to prosecute crimes and pursue their

                      rights as victims of criminal offenses but rather to cause the destruction of

                      Integradora and its subsidiaries, including cutting their access to cash and

                      depriving them of the Rigs through the Seizure Order and the Rigs Take-

                      Over Order;

              (b)     by causing the Singapore Rig Owners to fail to pay the Reimbursement

                      Costs to Perforadora; and

              (c)     by making it impossible for Perforadora to pay past due Charter Hire to

                      the Singapore Rig Owners as a result of the Seizure Order.




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       545.    The Ad-Hoc Group Defendants, the Seamex Defendants and the Singapore

Directors acted negligently because they knew, should have known or could have foreseen that

cau

relationship with the Singapore Rig Owners would result in the collapse of Integradora and its

subsidiaries, including the loss of the Rigs.

       546.    As a result of the foregoing, Integradora and Perforadora seek damages, including

punitive damages, in an amount to be proven at trial.

                                COUNT SEVENTEEN
(Breach of the Bareboat Charters for Failure to Pay the Reimbursement Costs against the
                                Singapore Rig Owners)

       547.    The Foreign Representative incorporates by reference and re-alleges each and

every allegation set forth above as though fully set forth herein.

       548.    The Bareboat Charters are valid and enforceable contracts between Perforadora

and the Singapore Rig Owners.

       549.    The Singapore Rig Owners have breached the Bareboat Charters because they

owe but have failed to pay the Reimbursement Costs to Perforadora.

       550.    As a result of the foregoing, Integradora and Perforadora seek damages, including

punitive damages, in an amount to be proven at trial.

                                 COUNT EIGHTEEN
   (Declaratory Judgment and Damages against the Ad-Hoc Group Defendants and the
   Singapore Defendants for Violations of 11 U.S.C. § 1520(a)(1) and the Comity Order)

       551.    The Foreign Representative incorporates by reference and re-alleges each and

every allegation set forth above as though fully set forth herein.

       552.    The Foreign Representative seeks a declaration that Defendants have violated

                                                   .



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         553.                                                                            Comity Order

because section 1520(a)(1) and the Comity Order automatically stayed all actions against

property of Perforadora located in the United States.

         554.   At all relevant times, the Defendants have sought to and ultimately successfully

deprived Perfor                                               Rigs under the Bareboat Charters.

         555.   Under section 1520(a)(1), upon recognition of a foreign main proceeding

 sections 361 and 362 apply with respect to the debtor and the property of the debtor that is

within th



                                                                            cally stayed. 11 U.S.C.

§ 362.

         556.                                                                                    Rigs

constitutes property located within the territorial jurisdiction of the United States.

         557.   When the Comity                                            tions to Perforadora, any



                     Rigs, was automatically stayed. Therefore, the Defendants seizure of the

Rigs violated section 1520(a)(1) and Recognition Order.

         558.   The Defendants also violated the Comity Order. The October 5 and 11 Orders

prohibit any foreclosure actions on the Rigs and maintain the Bareboat Charters in force. This

Court expressly recognized and awarded full force and effect to the October 5 and 11 Orders

through its Comity Order.

         559.   The Defendants violated the October 5 and 11 Orders by (a) foreclosing on the

Rigs; and (b) depriving                                                       Rigs.



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       560.    Therefore, an actual and justiciable controversy exists between Plaintiff and the

Defendants. This controversy is ripe for determination because Defendants seized the Rigs.

       561.    Based on the foregoing, the Foreign Representative requests that the Court

determine that the Defendants violated the Comity Order.

       562.    Further, u                                                       njured by any willful

violation of a stay [ ] shall recover actual damages                                     fees, and, in

appropriate circumstances, may recover punitive damages              U.S.C. § 362.

       563.    Here, section 1521(a)(1) and the Comity Order stayed all actions against rights



the Rigs under the Bareboat Charters.

       564.    The Defendants have willfully violated section 1521(a) and the Comity Order by

taking possession of the Rigs.

       565.    As a result of the foregoing, Integradora and Perforadora seek damages, including

punitive damages, in an amount to be proven at trial.

                                     COUNT NINETEEN
                            (Prima Facie Tort against All Defendants)

       566.    The Foreign Representative incorporates by reference and re-alleges each and

every allegation set forth above as though fully set forth herein.

       567.    The Defendants conspired to and intentionally injured Integradora and

Perforadora by:

               (a)     arranging or participating in meetings and telephone conferences with, or

                       corresponding with, Pemex to cause Pemex to (i) force Perforadora to

                       yield to the 2017 Proposed Pemex Amendments, which were terms that

                                                                           uding the loss of the Rigs;


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                       (ii) unlawfully terminate the Oro Negro Contracts; and (iii) fail to perform

                       under the Oro Negro Contracts in January 2018;

               (b)     colluding with Pemex to cause Pemex to terminate the Oro Negro

                       Contracts after Perforadora filed for concurso;

               (c)     colluding with Pemex to cause the Concurso

                       concurso filing;

               (d)     entering into agreements to manage the Rigs after the Ad-Hoc Group

                       prevailed in unlawfully taking over them;

               (e)     preventing Pemex from performing on the Oro Negro Contracts in January

                       2018;

               (f)     causing Deutsche México to fail to make almost any payments to

                       Perforadora during the concurso, which has suffocated Perforadora and

                       has left it with no cash to fund its operations;

               (g)     causing México to open four criminal investigations against Integradora,

                       Perforadora, and their directors, executives and employees, including Gil,

                       based on fabricated evidence and false allegations and arguments, and

                       potentially, by paying bribes to Mexican government officials; and

               (h)     improperly causing the seizure of all of the funds in the Mexican Trust.

       568.    The Defendants had no justification for injuring Oro Negro. They acted with the

intention of destroying Oro Negro, with the objective of taking over the Rigs and the Oro Negro

Contracts as well as

       569.    As a result of the foregoing, Integradora and Perforadora seek damages, including

punitive damages, in an amount to be proven at trial.



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                                    COUNT TWENTY
           (Negligence against the Ad-Hoc Group and the Singapore Rig Owners)

        570.   The Foreign Representative incorporates by reference and re-alleges each and

every allegation set forth above as though fully set forth herein.

        571.   The Ad-Hoc Group Defendants and the Singapore Rig Owners owe a duty of

reasonable care to Integradora and Perforadora in the collection of the Bonds and the Charter

Hire.

        572.   The Ad-Hoc Group Defendants and the Singapore Rig Owners breached their

duty of reasonable care by:

               (a)     arranging or participating in meetings and telephone conferences with, or

                       corresponding with, Pemex resulting in Pemex (i) forcing Perforadora to

                       yield to the 2017 Proposed Pemex Amendments; (ii) unlawfully

                       terminating the Oro Negro Contracts; and (iii) failing to reactivate the Oro

                       Negro Contracts in January 2018;

               (b)     failing to take any actions at any time to prevent Pemex from (i) forcing

                       Perforadora to yield to the 2017 Proposed Pemex Amendments; (ii)

                       unlawfully terminating the Oro Negro Contracts; and (iii) failing to

                       reactivate the Oro Negro Contracts in January 2018 or otherwise perform

                       under the Contracts;

               (c)     causing Deutsche México to fail to make almost any payments to

                       Perforadora during the concurso, which suffocated Perforadora and left it

                       with no cash to fund its operations;

               (d)     causing México to open four criminal investigations against Integradora,

                       Perforadora, and their directors, executives and employees, including Gil,


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                       based on fabricated evidence and false allegations and arguments, and

                       potentially, by paying bribes to Mexican government officials;

               (e)     failing to take any actions at any time to prevent Judge Cedillo from

                       issuing the Seizure Order and the Rigs Take-Over Order based on

                       fabricated evidence, including failing to take any steps to determine

                       whether the evidence that served as the basis of those Orders was false;

                       and

               (f)     improperly causing the seizure of all of the funds in the Mexican Trust.

       573.    The Ad-Hoc Group Defendants and the Singapore Rig Owners knew or should

have known and/or was reasonably foreseeable that their actions would result in the destruction

of Oro Negro, including the loss of the Oro Negro Contracts and of the possession of the Rigs,

and would prevent Oro Negro from successfully reorganizing. The Ad-Hoc Group Defendants

and the Singapore Rig Owners prevailed, including by ultimately taking over the Rigs.

       574.    As a result of the foregoing, Integradora and Perforadora seek damages, including

punitive damages, in an amount to be proven at trial.

                              COUNT TWENTY-ONE
  (Unjust Enrichment and Conspiracy to Commit Unjust Enrichment against the Ad-Hoc
                        Group and the Singapore Rig Owners)

       575.    The Foreign Representative incorporates by reference and re-alleges each and

every allegation set forth above as though fully set forth herein.

       576.    The Ad-Hoc Group and the Singapore Rig Owners ultimately took over the Rigs,

depriving Integradora of its ownership of the Rigs and Perforadora of its possession of the Rigs.

This destroyed Oro Negro by depriving it of its only assets.

       577.    It is against equity and good conscience to permit the Ad-Hoc Group and the

Singapore Rig Owners to retain the Rigs because they caused Oro Negro to lose all sources of
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revenue and run out of cash, making it impossible for Oro Negro to maintain the Rigs. The Ad-



              (a)    arranging or participating in meetings and telephone conferences with, or

                     corresponding with, Pemex to cause Pemex to (i) unlawfully terminate the

                     Oro Negro Contracts; and (ii) fail to perform under the Oro Negro

                     Contracts in January 2018;

              (b)    colluding with Pemex to cause Pemex to terminate the Oro Negro

                     Contracts after Perforadora filed for concurso;

              (c)    colluding with Pemex to cause the Concurso

                     concurso filing;

              (d)    entering into agreements to manage the Rigs after the Ad-Hoc Group

                     prevailed in unlawfully taking over them;

              (e)    preventing Pemex from performing on the Oro Negro Contracts in January

                     2018;

              (f)    causing Deutsche México to fail to make almost any payments to

                     Perforadora during the concurso, which has suffocated Perforadora and

                     has left it with no cash to fund its operations;

              (g)    causing México to open four criminal investigations against Integradora,

                     Perforadora, and their directors, executives and employees, including Gil,

                     based on fabricated evidence and false allegations and arguments, and

                     potentially, by paying bribes to Mexican government officials; and

              (h)    improperly causing the seizure of all of the funds in the Mexican Trust.




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       578.    The Ad-Hoc Group and the Singapore Rig Owners had no justification in injuring

Oro Negro. They acted with the intention of destroying Oro Negro, with the objective of taking

over the Rigs and the Oro Negro Contracts as well as with the intention of sabotaging Oro



       579.    As a result of the foregoing, Integradora and Perforadora seek damages, including

punitive damages, in an amount to be proven at trial.

       WHEREFORE, for the reasons set forth above, Gil, in his personal capacity and as

Foreign Representative, respectfully requests judgment be entered in his favor as follows:

               (a)     Awarding damages to Gil, Integradora and Perforadora, including punitive

                       damages, in an amount to be determined at trial;

               (b)     Awarding

                       bringing this action;

               (c)     Awarding pre-judgment interest at the maximum legal rate applicable to a

                       judgment issued by the Court entering such judgment; and

               (d)     Granting any such additional as the Court deems just and proper.

       Gil, in his personal capacity and in his capacity as Foreign Representative reserves the

right to seek all remedies available at law and equity.




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Dated: June 6, 2019                Respectfully submitted,
New York, New York                 QUINN EMANUEL URQUHART &
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